    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 1 of 114




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA

EQUALITY FLORIDA; FAMILY
EQUALITY; M.A., by and through         Civil Action No. 4:22-cv-00134
his parent AMBER ARMSTRONG;            (AW) (MJF)
S.S., by and through her parents,
IVONNE SCHULMAN and CARL
SCHULMAN; ZANDER MORICZ;
LINDSAY MCCLELLAND, in her
personal capacity and as next friend   FIRST AMENDED COMPLAINT
and parent of JANE DOE; RABBI
                                       JURY DEMAND
AMY MORRISON and CECILE
HOURY; DAN and BRENT
VANTICE; LOURDES CASARES
and KIMBERLY FEINBERG;
LINDSEY BINGHAM SHOOK;
ANH VOLMER; SCOTT BERG;
and MYNDEE WASHINGTON,
                         Plaintiffs,
               v.

RONALD D. DESANTIS, in his
official capacity as Governor of
Florida; FLORIDA STATE BOARD
OF EDUCATION; THOMAS R.
GRADY, BEN GIBSON,
MONESIA BROWN, ESTHER
BYRD, GRAZIE P. CHRISTIE,
RYAN PETTY, and JOE YORK, in
their official capacities as members
of the Board of Education; JACOB
OLIVA, in his official capacity as
Commissioner of Education of
Florida; FLORIDA DEPARTMENT
OF EDUCATION; BROWARD
SCHOOL BOARD; SCHOOL
BOARD OF MANATEE COUNTY;
     Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 2 of 114




 SCHOOL BOARD OF SARASOTA
 COUNTY; SCHOOL BOARD OF
 MIAMI-DADE COUNTY;
 ORANGE COUNTY SCHOOL
 BOARD; ST. JOHNS COUNTY
 SCHOOL BOARD; and PASCO
 COUNTY SCHOOL BOARD,

                            Defendants.


                                 INTRODUCTION

      1.     Florida House Bill 1557 (2022) (widely known as the “Don’t Say Gay”

law) is an unlawful attempt to stigmatize, silence, and erase LGBTQ people in

Florida’s public schools. It seeks to do so by imposing a sweeping, vague ban

covering any instruction on “sexual orientation and gender identity,” and by

constructing a diffuse enforcement scheme designed to maximize the chilling effect

of this prohibition.

      2.       Through H.B. 1557, Florida would deny to an entire generation that

LGBTQ people exist and have equal dignity. This effort to control young minds

through state censorship—and to demean LGBTQ lives by denying their reality—is

a grave abuse of power. The United States Supreme Court has repeatedly affirmed

that LGBTQ people and families are at home in our constitutional order. The State

of Florida has no right to declare them outcasts, or to treat their allies as outlaws, by

punishing schools where someone dares to affirm their identity and dignity.




                                          -2-
     Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 3 of 114




      3.     H.B. 1557 piles one violation on top of another. It offends principles

of free speech and equal protection by seeking to censor discussions of sexual

orientation or gender identity that recognize and respect LGBTQ people and their

families. It offends due process by using broad and vague terms to define its

prohibitions—thus inviting discriminatory enforcement and magnifying its chilling

effect on speech. And it arises from discriminatory purposes and outdated sex-based

stereotypes that offend deeply rooted constitutional and statutory requirements.

      4.     To start, the law is clearly the product of animus towards Florida’s

LGBTQ community. The law’s sponsor in the Senate has stated that the law is meant

to prohibit discussion of LGBTQ sexual orientations and gender identities that do

not comport with Florida’s supposed “core belief systems and values.” He has also

stated that the law is intended to prevent students “coming out in school” to their

peers from being treated as “celebrities.” The premise of these statements is fear

that LGBTQ students might live their true identities in school and be met with

acceptance rather than state-sanctioned hostility targeting their protected

characteristics.

      5.     This legislative purpose is reflected in H.B. 1557’s statutory structure.

H.B. 1557 subjects school districts to the threat of costly litigation if “school

personnel” or “third parties” provide “classroom instruction” on “sexual orientation”

or “gender identity” for students in K-3, or where such instruction is not “age-



                                         -3-
     Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 4 of 114




appropriate or developmentally appropriate according to state standards.” The

meaning of “classroom instruction” on “sexual orientation” and “gender identity” is

subject to intractable uncertainty and disagreement, yet the statute’s drafters made a

considered choice not to include definitions for any of these terms. The State need

not even adopt “standards” until one year after the law goes into effect. But from

the very outset, any parent can file suit if they believe that a school has violated these

expansive, nebulous prohibitions. In this respect, H.B. 1557 recruits every parent as

a roving censor, armed with a legal warrant to sue schools for damages whenever

they believe a teacher, any other “school personnel,” or any “third party” has

provided any “classroom instruction” that may be perceived as relating to “sexual

orientation” or “gender identity.” The potential for arbitrary and discriminatory

enforcement here is self-evident—and it reflects a choice designed to maximize the

law’s in terrorem effects. H.B. 1557 thus operates in a manner antithetical to

reasonable requirements of an age or developmentally appropriate education, instead

creating a scheme in which parents can use the threat of litigation over vague

statutory terms to menace school boards and intimidate teachers into offering a

skewed, discriminatory curriculum.

      6.     While the law’s statutory text is broad and vague, and its enforcement

mechanism is deliberately diffuse, its objective is clear: H.B. 1557 seeks to

discourage, deter, and ban any discussion of LGBTQ identities in public schools,



                                           -4-
     Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 5 of 114




while permitting discussion of heterosexuality and non-LGBTQ identities. In so

doing, the State promotes a discriminatory dogma in which the only “appropriate”

families, students, and teachers are straight and cisgender ones.

      7.     Indeed, the law’s vagueness and enforcement mechanisms are key to

helping it achieve this discriminatory goal: nobody knows exactly what the statutory

language covers, but everybody knows that the law’s purpose is to prohibit any

discussion of LGBTQ people and that any aggrieved parent can file a burdensome

lawsuit against the local school district, so the safest thing to do in order to avoid

liability is for schools to prohibit any acknowledgment that LGBTQ people exist.

      8.     To appreciate how this dynamic is already unfolding in practice, just

consider how students, teachers, parents, guests, and school personnel must navigate

these common questions: Can a student of two gay parents talk about their family

during a class debate about civics? Can that student paint a family portrait in art

class? Can a lesbian student refer to their own coming out experience while

responding to a work of literature? Can a transgender student talk about their gender

identity while studying civil rights in history class?         What if that occurs in

homeroom, or during an extracurricular activity with a faculty supervisor, or in an

op-ed in the faculty-supervised school newspaper? Are teachers allowed to respond

if students discuss these aspects of their identities or family life in class? If so, what

can they say? Do those same limits apply if a teacher intervenes where a student is



                                           -5-
     Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 6 of 114




being bullied or beaten (or mistreated at home) based on their sexual orientation or

gender identity? What if students address aspects of LGBTQ identity in essays for

which teachers must provide grades and feedback? Speaking of which, can a history

teacher educate their students about the history of LGBTQ rights? Can a government

teacher discuss Obergefell v. Hodges, 576 U.S. 644 (2015)? Can an English teacher

make note of LGBTQ themes or plots—and can they assign books in which one of

the characters (or their families or a side character) is LGBTQ? Does the librarian

have to remove every book with LGBTQ characters or references? Can a gay or

transgender teacher put a family photo on their desk? Can they refer to themselves

and their spouse (and their own children) by the proper pronouns? What do they do

if a student’s same-sex parents visit the class together on career day, or ask to join a

field trip? Are those parents forbidden from speaking to the class, on the theory that

their very presence somehow instructs students on “sexual orientation”?

      9.     These questions only scratch the surface of the censorial regime (and

the legal quagmire) that H.B. 1557 inflicts on teachers, students, parents, and so

many others. By design, H.B. 1557 raises many questions and offers no answers,

even as it works an extraordinary government intrusion on the rights of students,

teachers, and parents in public schools.

      10.    One might even ask: would it violate H.B. 1557 for a teacher to discuss

with their students this very lawsuit and the public controversy surrounding H.B.



                                           -6-
     Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 7 of 114




1557? Unfortunately, we already know the answer to this question. As set forth

below, Plaintiff Zander Moricz was specifically instructed not to mention H.B. 1557

or his participation in this lawsuit at his high school commencement speech.

      11.    The law’s vagueness—and its corresponding potential for unequal and

discriminatory enforcement—is made clear by applications that its drafters clearly

did not see as violations. A teacher who refers to a student’s “mom” and “dad,” or

who presumes the normalcy of opposite-sex attraction while teaching literature, is

“instructing” students on “sexual orientation” if H.B. 1557’s language is taken at

face value. But the State of Florida has no problem with such run-of-the-mill

references to the sexual orientation of non-LGBTQ people. Similarly, a coach who

tells the football team to play like “men” has most certainly undertaken to “instruct”

their students on “gender identity.” But here, too, H.B. 1557’s drafters surely see no

problem. Or consider a still more commonplace example: if a teacher referred to his

opposite-sex spouse by name, the sponsors of H.B. 1557 would see no issue, but if

a teacher referred to his same-sex spouse by name, the sponsors of H.B. 1557 (and

parents, free to sue) might think he broke the law.

      12.    By design, H.B. 1557 uses vague terms to create a statutory structure in

which anyone who discusses or acknowledges any aspect of LGBTQ identity must

fear running afoul of the law, while it is simply taken for granted that discussing

heterosexuality or cisgender identity in school settings is perfectly fine.



                                          -7-
     Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 8 of 114




      13.    The effect of H.B. 1557 is thus to chill the rights of teachers, students,

and officials, who, like any rational person, will avoid the danger zone created by a

state-mandated censorship code. And H.B. 1557 amplifies its chilling effect by

empowering parents to sue school boards, the members of which will similarly be

motivated to avoid lawsuits by quelling or punishing any potentially risky speech.

      14.    All of this is intentional. The purpose of H.B. 1557 is not to ensure that

instruction on human sexuality is age-appropriate: Florida law already does that by

requiring that teachers who address “human sexuality” must “[p]rovide instruction

and material that is appropriate for the grade and age of the student.” Fla. Stat.

§ 1003.46(2)(d) (2021).     Moreover, efforts to narrow H.B. 1557 to apply to

instruction about sexuality or sex acts were repeatedly shot down in the Legislature.

So too were efforts to clarify that the law prohibits discussion of any sexual

orientation and gender identity, not just discussion of LGBTQ identities and issues.

      15.    The law as adopted is discriminatory: it aims at sexual orientations and

gender identities that differ from heterosexual and cisgender identities. Florida’s

lawmakers apparently believe such identities do not have any place in the public

school environment—even though gay and transgender students, families, teachers,

and officials are part of our public schools (and their communities).

      16.    The harmful effects of H.B. 1557 are already manifest in public schools

across Florida. Faced with the law’s vague prohibitions and threat of litigation,



                                         -8-
     Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 9 of 114




teachers and school administrators have said that they will remove LGBTQ

references from the curriculum and no longer foster or participate in discussions that

touch upon LGBTQ issues. LGBTQ students and parents are unsure about whether

they can express or discuss their identities, which leads them to self-censor or face

detention or other possible discipline or exclusion that may result if they do. The

subordination and erasure of LGBTQ life that H.B. 1557 seeks to achieve has already

begun—and it has already imposed concrete harms on children and families in

Florida.

      17.     H.B. 1557 places Plaintiffs and countless others in danger. LGBTQ

students already face disproportionality high risks to their mental and physical

health.    The law not only stigmatizes and silences those vulnerable students,

exacerbating risks to their welfare, but also threatens school officials who foster a

safe and inclusive environment for them—as they are required to do for all students

under the Board of Education’s Code of Ethics. Moreover, H.B. 1557 erases other

LGBTQ members of the school community and parents, to the detriment of all.

      18.     H.B. 1557 serves no legitimate pedagogical purpose. It is motivated by

animus against LGBTQ students, families, and teachers of Florida, and those who

would accept and support them in schools. By design and in effect, H.B. 1557 will

“humiliate[] . . . children now being raised by same-sex [and other LGBTQ]

couples,” and will make it “even more difficult for [them] to understand the integrity



                                         -9-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 10 of 114




and closeness of their own family and its concord with other families in their

community and in their daily lives.” United States v. Windsor, 570 U.S. 744, 772

(2013).

      19.    H.B. 1557 thus reflects an effort by the State to use its power over

public schools to demean and deny the existence of people whom the Supreme Court

has repeatedly held to be protected. It has no place in a free democratic society.

      20.    For the reasons set forth herein, the Court should declare that H.B. 1557

violates the First and Fourteenth Amendments to the United States Constitution, and

Title IX of the Education Amendments of 1972, 20 U.S.C. §§ 1681-1688 (“Title

IX”), and enjoin its implementation and enforcement.

                          JURISDICTION AND VENUE
      21.    This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and

1343 because this action arises under the United States Constitution, 42 U.S.C.

§ 1983, and Title IX.

      22.    This Court has personal jurisdiction over Defendants, and venue is

proper in this District pursuant to 28 U.S.C. § 1391(b), because Defendants are

public officials in the State of Florida, they are sued in their official capacities, and

certain Defendants maintain their principal headquarters in this District. Defendants

reside within this District and/or perform official duties within Florida.




                                          -10-
     Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 11 of 114




      23.    There is an actual and justiciable controversy between Plaintiffs and

Defendants because H.B. 1557 constitutes an immediate infringement on the

constitutional and statutory rights of Plaintiffs.

                                      PARTIES
I.    Plaintiffs

      24.    Plaintiffs are organizations, students, parents, and teachers who are

already being harmed and will continue to be harmed by H.B. 1557.

      Organizations

      25.    Equality Florida. Plaintiff Equality Florida is a non-profit, public

interest organization based in St. Petersburg, Florida. Its goal is to secure equal

rights and protections for the LGBTQ community in Florida through education,

grassroots organizing, coalition building, and lobbying. Equality Florida is the

largest civil rights organization dedicated to securing full equality for Florida’s

LGBTQ community, with more than 140,000 members.

      26.    Equality Florida brings this action in its own capacity and in an

associational capacity on behalf of its members. Its members include LGBTQ

students and parents who attend or whose children attend Florida public schools,

non-LGBTQ students and parents who support LGBTQ equality and who attend or

whose children attend Florida public schools, LGBTQ teachers who teach in Florida

public schools, non-LGBTQ teachers who support equality and teach in Florida




                                          -11-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 12 of 114




public schools, and other school personnel such as counselors who support equality

and work in Florida public schools. Equality Florida’s members represent a wide

range of ages, races, and ethnic backgrounds and reside throughout the State of

Florida.

      27.    In furtherance of its mission—which includes fighting discrimination

against LGBTQ Floridians—Equality Florida has actively opposed the passage of

H.B. 1557.     Equality Florida’s mission also includes education, and through

programs like the Safe and Healthy Schools Project, Equality Florida works to create

a culture of inclusion while countering the bullying, harassment, social isolation, and

bigotry that increase risk factors for LGBTQ students.

      28.    Family Equality. Plaintiff Family Equality is a nationwide non-profit,

public interest organization headquartered in New York, New York, with slightly

fewer than 900 individuals on its email list in Florida. It brings this action in its own

capacity.

      29.    Family Equality’s mission is to ensure that everyone has the freedom

to find, form, and sustain their families by advancing equality for the LGBTQ

community. In furtherance of its mission, Family Equality works to advance legal

and lived equality for LGBTQ families and those who wish to form them, including

by ensuring that families have the support they need in school. Family Equality

recently adopted a new strategic plan that included as a priority protecting LGBTQ



                                          -12-
        Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 13 of 114




families and children from discrimination in schools as well as increasing Family

Equality’s presence in the southern states, with an emphasis on the State of Florida.

           Students

           30.      M.A. Plaintiff M.A. is a 17-year-old sophomore at Manatee School for

the Arts, a public charter school in Palmetto, Florida. He lives with his mother,

grandparents, and cousin. 1           0F




           31.      M.A. has known that he is gay since a very early age. However, he did

not come out to his family and friends until middle school. At the time, his mother

could tell that he was struggling. She found out M.A. was gay by reading chats he

was having with others online on his video game console.

           32.      M.A.’s mother was very supportive and told him that she loved him no

matter what, and all he needed to do was be truthful and open with her. His

grandparents were also supportive, even though they are conservative.




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    Looking to its plain text and legislative history, H.B. 1557’s applicability to charter schools is unclear—a
          circumstance that itself will have a chilling effect on those schools’ LGBTQ communities. While charter
          schools are generally exempt from the Florida Early Learning-20 Education Code, they must comply with
          “statutes pertaining to student health, safety, and welfare.” Fla. Stat. § 1002.33(16)(a)(5) (2021). H.B. 1557
          purports to relate to students’ “mental, emotional, or physical health or well-being.” It also amends Fla. Stat.
          § 1001.42(8), a section titled “Student welfare” containing provisions relating to “health, safety, and other
          matters relating to the welfare of students.” Fla. Stat. Ann. § 1001.42(8)(a). In addition, Governor DeSantis
          conducted the bill signing ceremony at a charter school, and his Press Secretary has stated that the law will
          apply in charter schools. See Danielle J. Brown, Does the so-called ‘Don’t Say Gay’ law apply to Florida
          charter public schools?, FLORIDA POLITICS (Mar. 30, 2022), https://floridapolitics.com/archives/512625-
          does-the-so-called-dont-say-gay-law-apply-to-florida-charter-public-schools/.        Thus, while there are
          reasonable arguments that H.B. 1557 does not apply in charter schools, the State is likely to take the position
          that it does—a threat that is causing the very injuries identified in this Amended Complaint.




                                                          -13-
     Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 14 of 114




       33.    Sadly, M.A.’s father was a different story. When M.A. was younger,

his father told his mother that if their son was gay, he “was never going to love him.”

After M.A.’s mother told his father about M.A.’s sexual orientation, his father

initially expressed acceptance, but eventually terminated contact with him and is no

longer a part of his life.

       34.    While M.A. had a (mostly) supportive family, coming out was difficult.

He worried that people around him didn’t understand what being gay actually meant.

He had anxiety attacks at school, and his grades began to suffer. But after his mother

found him a private counselor, he became empowered to identify his needs in school

and at home, and to advocate for himself and other LGBTQ students.

       35.    In eighth grade, M.A. decided to start a Gay-Straight Alliance (“GSA”)

because he knew how important his family’s support had been for him and he

couldn’t imagine what it was like for others who lacked that support. However,

when M.A. and his teacher-advisor submitted their application, the school’s

administration rejected it, claiming that the school’s bylaws barred the GSA and the

creation of “non-academic organizations,” even though there was no such written

policy in place and other non-curricular student organizations existed. It took two

years and the threat of legal action with the help of a local advocacy group to get the

school to finally permit M.A. and his advisor to start the club.




                                         -14-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 15 of 114




       36.   Today, M.A. is the president of his school’s GSA, which typically has

between 15 and 30 members and creates a welcoming space for other LGBTQ

students and their allies. As his mother put it, M.A. “found his voice” through the

GSA.

       37.   Since starting the GSA, M.A.’s grades have improved significantly, and

he is taking college-level classes. M.A. also participates in Mock Trial and in

Manatee Teen Court as a student attorney.

       38.   S.S. Plaintiff S.S. is a 17-year-old junior at Miami Beach Senior High

School. She lives with her Cuban-American mother and her father in Miami. S.S.

is very successful at school—she consistently receives all A’s and participates in her

school’s International Baccalaureate (“IB”) program.

       39.   In middle school, S.S. identified as bisexual. She shared this with her

friends starting in eighth grade, but did not tell her parents at that time.

       40.   During her freshman year of high school, after she had dated a boy, S.S.

realized that she was only attracted to women. She then began to identify exclusively

as a lesbian, rather than as bisexual.

       41.   S.S. first came out as a lesbian to her uncles who are gay in August

2020; she came out to her parents the following January. S.S.’s parents were very

supportive of her sexuality. Since coming out to her parents, S.S. has also come out




                                          -15-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 16 of 114




to her father’s side of the family. She has not come out to her mother’s side of the

family because she is worried they will not be accepting of her identity.

      42.    S.S. has gradually come out to people at school, including her friends

and some teachers. In particular, S.S. found support from her ninth-grade biology

teacher, who was her teacher at the time S.S. realized she was a lesbian.

      43.    S.S. believes that most of her peers and friends know that she is a

lesbian, although she has never formally or publicly come out to peers who are not

in her social circle. S.S. finds her school environment to be generally accepting,

which has been enormously beneficial to S.S. and has allowed her to succeed both

socially and academically. At least prior to the passage of H.B. 1557, S.S. has felt

that she was “able to be herself” at school.

      44.    Zander Moricz. Plaintiff Zander Moricz is an 18-year-old who recently

graduated from Pine View School, a public magnet school in Osprey, Florida for

academically gifted students. His parents are divorced, and he mainly lives with his

mother and younger brother.

      45.    Moricz has known he is gay since middle school. At the time, he felt

as though he had to constantly hide who he truly was. He would modify his speech

and physical gestures and modulate his interests to try to avoid being perceived as

gay. He dreaded going to gym class because the boys would tease him in the locker

room and call him names like “pussy” and “faggot.” Living in this closeted



                                         -16-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 17 of 114




adolescence was deeply debilitating for Moricz at an important time in his life. He

never felt like he fit in or belonged at his school.

      46.    Moricz transferred to Pine View School in sixth grade; he came out as

gay during his freshman year. At the time, Moricz wanted to run for president of the

freshman class and be a leader for his peers, but he wanted to run only if he could

do so without being in the closet. Moricz ultimately decided to run, with support

from a friend, and came out to his school and the broader community in the process.

To his surprise, Moricz won. He remained class president for all four years.

      47.    At home, Moricz’s family was not at first accepting of his sexuality. It

took many difficult conversations for him to feel safe and accepted. But school was

different and better. Moricz has had warm and accepting teachers and friends who

embraced him for who he is, and he had many opportunities at school to express who

he is and take pride in his identity.

      48.    Moricz’s ability to be himself at school allowed him to succeed

academically. He had a 5.06 GPA and took nearly every Advanced Placement

course his high school offered. He also served as the president of the local Model

UN chapter and the head debate captain of the Pine View Speech and Debate Club.

He will attend college at Harvard University in the fall.

      49.    Jane Doe. Plaintiff Jane Doe is a fifth grader at a Florida public school.

Doe lives half of the time with her mother (Plaintiff Lindsay McClelland) and her



                                          -17-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 18 of 114




siblings and stepfather in Brandon, Florida. She lives the other half of the time with

her father.

      50.     From around age two, it was clear that although Doe was assigned male

at birth, she identified as a girl. Doe would regularly tell her parents, “I am a girl.”

When she started to choose her own clothes and toys, she immediately gravitated

towards feminine clothing, nail polish, and dolls. She was also drawn to wearing

her mother and grandmother’s shirts and sought to style them as dresses in order to

express her female gender identity. On a family trip to Busch Gardens, when Doe

was a young child, she was enamored with the female characters, like Abby Cadabby

of Sesame Street. And when Doe discovered the Disney movie Frozen, she was

obsessed with the lead princesses, Elsa and Anna.

      51.     For McClelland, this was all a huge shock. McClelland is a former

Command Security Analyst for the United States Marine Corps, who grew up in a

small town outside of Washington D.C. and was entirely unfamiliar with matters of

transgender gender identity.

      52.     At first, McClelland tried to satisfy Doe by allowing her to wear dress-

up costumes in the house as part of a game. But it quickly became apparent that

“dress-up” would not be enough for Doe to feel like herself.

      53.     When Doe was two, her parents bought boys’ clothes—and

traditionally masculine toys like trucks and airplanes—for Christmas. As Doe



                                         -18-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 19 of 114




opened her presents on Christmas morning, she looked deflated and sad because she

didn’t relate to any of the toys “Santa” had brought. McClelland saw that Doe did

not have the same light and joy her sons had that Christmas morning.

      54.    From that point forward, McClelland realized that she had to embrace

who her daughter was. And that is what she did. For Doe’s fourth birthday, the

family threw Doe a Rapunzel-themed party and gifted her a Dorothy dress from The

Wizard of Oz. Doe was ecstatic. At another party, she wore a princess head garland

and twirled with joy.

      55.    As soon as Doe’s family started to allow Doe to be herself, they

immediately experienced backlash from their community. Doe’s family belonged

to a large Baptist church in their neighborhood. McClelland and her husband were

Bible school teachers and involved in community activities at the church. At a young

age, Doe attended Easter morning church services in a dress. Soon after, the ministry

reached out and encouraged the family to participate in a form of conversion therapy

for Doe. They shared pamphlets on how to “fix” and “change” people like Doe. But

McClelland knew that there was nothing about Doe that needed “fixing,” and she

told their church that she would not be participating in their efforts to change or

convert Doe. As a result, the family was ostracized from their church community.

      56.    At the time, McClelland did not know anyone else in her community

grappling with these issues, so she turned to support networks online. She found a



                                        -19-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 20 of 114




private Facebook group for parents of transgender children, and other parents shared

resources with her. McClelland also found an organization in Tampa that provided

health and wellness support to LGBTQ individuals, where she learned about the

consequences of not supporting a transgender child, which include a high risk of

mental health issues, drug abuse, and even suicide.

      57.    After speaking with her husband and Doe’s father, McClelland decided

it was best for Doe’s development and safety to allow her to socially transition to a

girl in preschool. Since then, Doe has used female pronouns and presented as female

at school. Each year, before the start of school, McClelland speaks with both Doe’s

new classroom teacher and the school principal about how to ensure the classroom

will be a safe environment for Doe. She informs the teacher of the use of proper

pronouns for Doe (she/her) and discusses how best to mitigate any bullying, name

calling, or teasing throughout the school year.

      58.    Despite these efforts, Doe is constantly afraid of being “outed” or

bullied at school. Indeed, even with some support from the school, issues have still

arisen. For example, in Doe’s after-school program when she was younger, which

took place at her school, the teacher required Doe to be the last or first to use the

bathroom to ensure that no other girls were in the bathroom with her. This

experience obviously ostracized Doe. And recently, Doe was “outed” by one of her




                                        -20-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 21 of 114




peers. As a result, Doe has increased anxiety and has been fearful about going back

to school in the fall.

       59.    As she gets older, Doe struggles with how to safely and comfortably

navigate her identity at school. Last year, as a fourth grader, Doe came out to a

couple of her peers at school as transgender. And in January 2022, Doe legally

changed her name to conform to her gender identity. Doe wants to live and be her

authentic self, a self she has understood and expressed since she was a toddler. But

in doing so, she has already faced bullying, name calling, and ostracization. Students

have told Doe that she “looks like a boy,” and have used her name given at birth to

taunt and tease her. As a result, Doe does not have a single close friend at school

anymore.

       Parents

       60.    Amy Morrison and Cecile Houry. Plaintiffs Rabbi Amy Morrison and

Dr. Cecile Houry are a committed lesbian couple in a domestic partnership. They

have been together for over a year. Houry is a member of Equality Florida.

       61.    Morrison is a Rabbi at a local temple and Houry works for the City of

Miami Beach, managing the Police Department’s grants and victim services unit.

They live together with their two children.

       62.    Morrison gave birth to her son in 2014. He is currently in the second

grade at Miami Children’s Museum Charter School, a public school in Miami-Dade



                                        -21-
     Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 22 of 114




County. Houry’s daughter was placed with her as a foster child when she was six

days old and legally adopted by Houry a year later. Houry’s daughter is currently in

preschool and will be starting kindergarten at Miami Children’s Museum Charter

School in August 2022.

       63.    Morrison and Houry have raised their children to embrace Morrison’s

“as you are” mindset that she espouses in her role as a Rabbi.

       64.    The children see nothing unique or particularly important about telling

someone “My other mom played basketball with me,” because they have always

been open about their families.

       65.    Based on her religious beliefs, Morrison teaches that all individuals

should be celebrated—not just accepted—for who they are.            In other words,

Morrison and Houry’s children have no qualms about talking about their two moms

because that is the life that they have always known; they haven’t been taught to

expect or idealize any other family structure.

       66.    These beliefs carry into life at school, where Morrison and Houry’s

children talk openly about their family. Morrison’s son has a picture of the four of

them hanging up in his classroom—and on multiple occasions, he has been asked to

make drawings of his family, which have included a portrait of his two moms and

his sister.




                                        -22-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 23 of 114




      67.    Dan and Brent VanTice. Plaintiffs Dan and Brent VanTice are a gay

couple who have been together for twenty years and have been married for fifteen.

They live in Saint Johns, Florida, and are the parents of two first-grade boys who go

to public school in the area. Dan is an IT consultant and Brent is a financial services

executive.

      68.    The VanTices are active members of Equality Florida. They are

invested in their community, having fought to overturn Florida’s previous bans on

gay marriage and gay adoption. They always knew that they wanted to have a

family.

      69.    When the VanTices first decided to adopt, adoption by gay couples was

illegal in Florida. As a result, they went to great lengths and expense to work with

an adoption agency based in California. Later, after the adoption ban in Florida was

overturned, they also began to work with an agency in Florida. In the summer of

2014, they were informed that they would be able to adopt not one, but two, children.

The VanTices were present at both births and have been raising their two sons, who

were born just eight weeks apart, ever since.

      70.    The VanTices have always worked hard to communicate to their

children that families come in many shapes and sizes, and that their family is no

different than any other. They have spoken openly, freely, and lovingly about their

family.



                                         -23-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 24 of 114




      71.    Lourdes Casares and Kimberly Feinberg.          Plaintiffs Dr. Lourdes

Casares and Dr. Kimberly Feinberg are a lesbian couple who have been together for

over seventeen years. They married in 2016, when marriage became legal in Florida.

Casares is a clinical psychologist and psychoanalyst, and Feinberg is an

anesthesiologist. They live together in Miami-Dade County.

      72.    Casares and Feinberg have a child who is in K-3 at a public school in

Miami-Dade County.       Both parents are very active in and value the school

community, and Feinberg serves on the school’s PTA.

      73.    Lindsey Bingham Shook.        Plaintiff Lindsey Bingham Shook is a

heterosexual woman who lives with her partner and their daughter, a first grader at

a public elementary school in Miami, Florida. Shook is an editorial director for a

magazine. She is active in the community and involved in numerous non-profit

organizations in the Florida area.

      74.    Shook’s daughter has expressed no specific sexual orientation or

gender identity. Shook wants her daughter to learn about the diversity of families in

her community and to have empathy for all forms of families and identities.

      75.    Anh Volmer. Plaintiff Anh Volmer is a heterosexual woman who lives

with her husband, her daughter, a kindergartener, and her son, a second grader. Her

children attend public elementary school in the Orlando area. Her family attends

events run by her local church, and she is active in her community.



                                        -24-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 25 of 114




      76.    Like Shook’s children, Volmer’s children have expressed no specific

sexual orientation or gender identity. Volmer wants her children to learn that all

families should be welcomed and included in their community.

      77.    Volmer’s children recently attended a wedding of two women, and she

is worried that once H.B. 1557 takes effect, her children will not be able to talk about

experiences like attending that wedding or share information about their family’s

LGBTQ friends with their peers.

      Teachers

      78.    Scott Berg. Plaintiff Scott Berg is a veteran elementary school teacher

at Flamingo Elementary School in Broward County. Berg and his husband have

been married for seven years and together as a couple for 11 years. Since becoming

a teacher 29 years ago, Berg has taught nearly every grade in elementary school. He

currently teaches elementary school art, and his students range from pre-

kindergarten to fifth grade.

      79.    Myndee Washington. Plaintiff Myndee Washington is a long-time

middle-school civics and drama teacher at Union Park Charter Academy in Pasco

County. She is also a parent of three children. Washington is an active member of

her local church and a proud Christian.




                                          -25-
        Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 26 of 114




           80.      Throughout her teaching career, Washington has served as the teacher-

advisor for gay-straight alliances, or GSAs, at her schools, 2 as well as supported   1F




other student-driven LGBTQ events and organizations, such as a student-led book

club focused on books with LGBTQ characters. As a result of Washington’s open

support, LGBTQ students have routinely turned to and depended on her in school

for resources and support.

           81.      As a teacher, Washington has frequently had organic, student-driven

conversations touching on the LGBTQ community in connection with both her

civics and drama curricula.                   For example, discrimination against the LGBTQ

community has come up in the context of discussing key Supreme Court cases

including the marriage equality decision Obergefell v. Hodges, and the school

desegregation case, Brown v. Board of Education.

II.        Defendants
           82.      Defendant Ronald D. DeSantis is the Governor of Florida. Governor

DeSantis is responsible for signing H.B. 1557 into law and for taking care that the

laws be faithfully executed as the Chief Executive of Florida. FLA. CONST., art. IV,

§ 1. Governor DeSantis is sued in his official capacity.

           83.      Defendant Florida State Board of Education is the chief implementing

and coordinating body of K-12 public education in Florida. It supervises the State’s


2
    Faculty sponsors are generally required for student groups in Florida public schools, which include GSAs.




                                                         -26-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 27 of 114




public education system and the head of the Department of Education. FLA. CONST.,

art. IX, § 2; Fla. Stat. § 20.15(1) (2021). The Board of Education has authority to

implement the provisions of law conferring duties upon it for the improvement of

the State system of public education, including to adopt comprehensive educational

objectives, approve plans for cooperation with other public agencies in the

development of rules and enforcement of laws for which it and such agencies are

responsible, enforce systemwide education goals and policies, and adopt and

periodically review and revise the Next Generation Sunshine State Standards, which

are the core content of the curricula to be taught in the state in K-12 public schools.

Fla. Stat. §§ 1001.02-.03, 1003.41 (2021). Under H.B. 1557, the Board of Education

is required to review and approve or reject any recommendation of a special

magistrate as to whether a school district is in compliance with the law, and to adopt

rules necessary to implement the foregoing procedure. Id. § 1001.42(8)(c)(7)(b)(I).

The Board of Education is the recipient of federal financial assistance.

      84.    Defendant Thomas R. Grady is the Chairman of the Board of

Education, and Defendant Ben Gibson is Vice Chairman. Defendants Monesia

Brown, Esther Byrd, Grazie P. Christie, Ryan Petty, and Joe York are members. All

are sued in their official capacities as members of the Board of Education.

      85.    Defendant Jacob Oliva is the Commissioner of Education of Florida

appointed by the Board of Education to serve as the Interim Commissioner of the



                                         -27-
        Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 28 of 114




Department of Education until June 1, 2022. 3 FLA. CONST., art. IX, § 1; Fla. Stat.
                                                                 2F




§ 20.15(2) (2021). As such, he is the chief educational officer of the State and

responsible for assisting the Board of Education in enforcing compliance with the

mission and goals of the education system; he also supports the Board of Education

in general administration. Fla. Stat. § 1001.10. Along with the Board of Education,

the Commissioner is charged with assigning the divisions of the Department of

Education with such powers, duties, responsibilities, and functions as are necessary

to ensure the greatest possible coordination, efficiency, and effectiveness of

education for students in K-20 education. Id. § 20.15(5). The Commissioner is

required, as needed, to develop and submit proposed revisions of the Next

Generation Sunshine State Standards to the Board of Education for adoption. Id.

§ 1003.41. Under H.B. 1557, the Commissioner is responsible for appointing a

special magistrate to make a recommendation as to whether a school district is in

compliance with the law. Oliva is sued in his official capacity as Commissioner of

Education.




3
    Manny Diaz, Jr. was appointed by the State Board of Education to serve as Florida’s next Commissioner of Education
          on April 29, 2022. His appointment is effective June 1, 2022, five days after the filing of this Amended
          Complaint. See Fla. Dep’t of Educ. Press Off., Senator Manny Diaz, Jr. Unanimously Appointed as Florida’s
          Commissioner       of    Education      by    State    Board      of     Education    (Apr.   29,     2022),
          https://www.fldoe.org/newsroom/latest-news/senator-manny-diaz-jr-unanimously-appointed-as-floridas-
          commissioner-of-education-by-state-board-of-education.stml. Plaintiffs anticipate that Mr. Diaz will replace
          Mr. Oliva as a defendant on June 1, 2022.




                                                         -28-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 29 of 114




      86.    Defendant Florida Department of Education is the administrative

agency that is responsible for implementing Florida’s education policies and

programs, under the implementation direction of the Board of Education. Fla. Stat.

§§ 20.15, 1001.20 (2021). Under H.B. 1557, the Department of Education is

responsible for reviewing and updating, as necessary, school counseling frameworks

and standards, educator practices and professional conduct principles, and any other

student services, personnel guidelines, standards, or frameworks in accordance with

the requirements of the act. The Department of Education is the recipient of federal

financial assistance.

      87.    Defendant Broward County School Board is a district school board

organized and governed pursuant to Fla. Stat. § 1001.34 et seq. The Broward County

School Board operates Flamingo Elementary School, where Plaintiff Berg is

employed as a teacher. Its powers and duties include implementing H.B. 1557. See

id. § 1001.42(8).

      88.    Defendant School Board of Manatee County is a district school board

organized and governed pursuant to Fla. Stat. § 1001.34 et seq. The School Board

of Manatee County operates Manatee School for the Arts, which Plaintiff M.A.

attends.    Its powers and duties include implementing H.B. 1557.           See id.

§ 1001.42(8).




                                       -29-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 30 of 114




      89.    Defendant School Board of Sarasota County is a district school board

organized and governed pursuant to Fla. Stat. § 1001.34 et seq. The School Board

of Sarasota County operates Pine View School, which Plaintiff Moricz attended. Its

powers and duties include implementing H.B. 1557. See id. § 1001.42(8).

      90.    Defendant School Board of Miami-Dade County is a district school

board organized and governed pursuant to Fla. Stat. § 1001.34 et seq. The School

Board of Miami-Dade County operates Miami Beach Senior High School, which

S.S. attends; Miami Children’s Museum Charter School, which the children of

Plaintiffs Morrison and Houry attend or will attend next year; the school attended by

the child of Plaintiffs Casares and Feinberg; and the school attended by the child of

Plaintiff Shook. Its powers and duties include implementing H.B. 1557. See id.

§ 1001.42(8).

      91.    Defendant Orange County School Board is a district school board

organized and governed pursuant to Fla. Stat. § 1001.34 et seq. The Orange County

School Board operates the school attended by the children of Plaintiff Volmer. Its

powers and duties include implementing H.B. 1557. See id. § 1001.42(8).

      92.    Defendant Pasco County School Board is a district school board

organized and governed pursuant to Fla. Stat. § 1001.34 et seq. The Pasco County

School Board operates Union Park Charter Academy, where Plaintiff Washington is




                                        -30-
     Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 31 of 114




employed as a teacher. Its powers and duties include implementing H.B. 1557. See

id. § 1001.42(8).

      93.    Defendant St. Johns County School Board is a district school board

organized and governed pursuant to Fla. Stat. § 1001.34 et seq. The St. Johns County

School Board operates the school attended by the children of Plaintiffs Dan and

Brent VanTice. Its powers and duties include implementing H.B. 1557. See id.

§ 1001.42(8).

                            STATEMENT OF FACTS

I.    Florida’s commitment and obligation to provide a meaningful education
      for all students, and school districts’ efforts to meet it

      94.    Florida has long affirmed the importance of providing all students with

an education that will prepare them to live in a free democratic society—a principle

that stands in stark, unmistakable tension with the goals underlying H.B. 1557.

      95.    Article IX of the Florida Constitution proclaims that “[t]he education

of children is a fundamental value of the people of the State of Florida,” and it is

therefore “a paramount duty of the state to make adequate provision for the education

of all children residing within its borders.” FLA. CONST. art. IX, § 1. As the Florida

Supreme Court has recognized, “this education provision was placed in our

constitution in recognition of the fact that education is absolutely essential to a free

society under our governmental structure.” Bush v. Holmes, 919 So.2d 392, 405




                                         -31-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 32 of 114




(Fla. 2006) (quoting Coal. for Adequacy & Fairness in Sch. Funding, Inc. v. Chiles,

680 So.2d 400, 409 (Fla. 1996) (Overton, J., concurring)).

        96.   The Supreme Court has affirmed the central role of public schools as

“the nurseries of democracy.” Mahanoy Area Sch. Dist. v. B. L. ex rel. Levy, 141 S.

Ct. 2038, 2046 (2021). Education “is the very foundation of good citizenship” and

“a principal instrument in awakening the child to cultural values, in preparing him

for later professional training, and in helping him to adjust normally to his

environment.” Brown v. Bd. of Educ., 347 U.S. 483, 493 (1954).

        97.   The “classroom is peculiarly the marketplace of ideas,” a place where

our children are “trained through . . . that robust exchange of ideas which discovers

truth out of a multitude of tongues, (rather) than through any kind of authoritative

selection.” Tinker v. Des Moines Indep. Cmty. Sch. Dist., 393 U.S. 503, 512 (1969)

(quotation marks and citation omitted). Schools thus have an obligation to protect

even “unpopular ideas,” Mahanoy, 141 S. Ct. at 2046, and to ensure that students

have access to a diversity of information that will prepare them “for active and

effective participation in the pluralistic, often contentious society in which they will

soon be adult members,” Bd. of Educ. v. Pico, 457 U.S. 853, 868 (1982) (plurality

op.).

        98.   In keeping with this longstanding commitment to “academic freedom,”

Keyishian v. Bd. of Regents, 385 U.S. 589, 603 (1967), the First Amendment protects



                                         -32-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 33 of 114




students’ “right to receive information and ideas,” Pico, 457 U.S. at 867 (quoting

Stanley v. Georgia, 394 U.S. 557, 564 (1969)). Moreover, “students do not ‘shed

their constitutional rights to freedom of speech or expression,’ even ‘at the school

house gate.’” Mahanoy, 141 S. Ct. at 2044 (quoting Tinker, 393 U.S. at 506).

      99.    Florida guarantees that “all K-12 public school students are entitled to

a uniform, safe, secure, efficient, and high quality system of education, one that

allows students the opportunity to obtain a high quality education” that is “made

available without discrimination on the basis of race, ethnicity, national origin,

gender, disability, religion, or marital status.” Fla. Stat. § 1002.20(1), (7) (2021).

      100. The Board of Education, through the Department of Education, has also

adopted rules to ensure “Educational Equity.” Under Section 6B-1.0001 of the Code

of Ethics, “The educator values the worth and dignity of every person, the pursuit of

truth, devotion to excellence, acquisition of knowledge, and the nurture of

democratic citizenship. Essential to the achievement of these standards are the

freedom to learn and to teach and the guarantee of equal opportunity for all.” Fla.

Admin. Code r. 6A-10.081(1)(a).

      101. Educators are required to “make reasonable effort to protect the student

from conditions harmful to learning and/or to the student’s mental and/or physical

health and/or safety”; to “not unreasonably deny a student access to diverse points

of view”; to “not harass or discriminate against any student on the basis of . . . sex,



                                         -33-
      Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 34 of 114




. . . [or] sexual orientation”; and to “make reasonable effort to assure that each

student is protected from harassment or discrimination.” Id. r. 6A-10.081(2). In

addition, “institutions have an affirmative duty” “to create an educational and work

environment free of harassment on the basis of . . . sex.” Id. r. 6A-19.008.

       102. Florida’s representatives and education officials thus have recognized

for many years that public schools and educators have a commitment and duty to

promote the meaningful education of all students, without discrimination, and to

ensure that Florida’s students are prepared to live and flourish in a free democracy.

II.    Florida schools’ inclusivity efforts for the LGBTQ community

       103. In recent years, local school districts have aspired to make Florida’s

promise of a meaningful education real for a historically excluded and disadvantaged

group: LGBTQ students.

       104. For instance, Plaintiff M.A.’s school district in Manatee County has an

“Equity, Diversion, and Inclusion Policy” that requires “equal opportunity and

access in relation to all stakeholders: students, families, and staff . . . by valuing,

acknowledging, recognizing, and celebrating everyone in our school system”

regardless of “gender, sex, gender identity, gender expression, [or] sexual

orientation.” That policy instructs the School Board to, among other things, “[s]elect

and develop instructional materials that are historically accurate and represent the

experiences of the diverse school community,” and “interrupt and dismantle harmful



                                         -34-
        Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 35 of 114




or inequitable practices and policies and eliminate implicit and explicit biases.” 4                        3F




Manatee County also has a policy of Non-discrimination and Access to Equal

Educational Opportunity that prohibits discrimination and harassment on the basis

of sexual orientation, transgender status, and gender identity, and requires

educational programs “be designed to meet the varying needs of all students.”

Specifically, curriculum content must be considered in light of its potential “bias

based upon the protected classes” and supplemented to fairly depict the contribution

of different groups “toward the development of human society.” 5 And finally,              4F




Manatee County previously adopted “LGBTQ+ District Guidelines” “intended to

assist faculty, staff, and students in fostering positive self-image, establishing safe

and inclusive schools, and promoting academic success for students who are, or are

perceived to be, Lesbian, Gay, Bisexual, Transgender, or Questioning (LGBTQ),”

which included eight “Actions” the district should take to support LGBTQ students

in accordance with the laws in place at the time. 6             5F




          105. St. Johns County School District, where Plaintiffs Dan and Brent

VanTice’s sons attend school, adopted guidelines that include permitting the



4
    School District of Manatee County Policy Manual, po9142 (Oct. 27, 2020),
           https://go.boarddocs.com/fl/mancofl/Board.nsf/goto?open&id=APMMA75599D6#.
5
    School District of Manatee County Policy Manual, po2260 (Apr. 12, 2022),
           https://go.boarddocs.com/fl/mancofl/Board.nsf/goto?open&id=APMMA75599D6#.
6
    School District of Manatee County, LGBTQ+ District Guidelines,
           https://web.archive.org/web/20211228214657/https://www.manateeschools.net/cms/lib/FL02202357/Centri
           city/Domain/4941/District_LGBTQ_Guidelines.pdf (last visited May 24, 2022).




                                                     -35-
        Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 36 of 114




formation of GSAs and prohibiting “try[ing] to silence students who are open about

their sexual orientation or transgender identity, or who question their orientation or

gender identity.” 7     6F




           106. Plaintiff Moricz’s school district of Sarasota County adopted “Gender

Diverse Student Guidelines” to “enhance ongoing efforts to make each Sarasota K-

12 public school a safer place for all students – with particular emphasis on

LGBTQIA community of students.” These guidelines specifically recognize that

“[s]tudents who feel accepted at school are more highly motivated, engaged in

learning and committed to achieving the best possible education.” 8                      7F




           107. The Miami-Dade County Public Schools, where Plaintiff S.S. and the

children of Casares and Feinberg, Morrison, and Shook attend school, has

“comprehensive anti-discrimination and anti-bullying policies that require all

students be treated with respect regardless of their unique characteristics, including

sexual orientation or gender identity.” The “Guidelines for Promoting Safe and

Inclusive Schools” have the stated goal of “promot[ing] a positive, proactive

approach that upholds and protects the rights of transgender and gender



7
    St Johns County School District, Guidelines for LGBTQ students-Follow Best Practices, at 1 (last revised
           December 2021), https://www.news4jax.com/news/local/2022/02/11/advocates-share-concerns-over-sjc-
           school-districts-guidelines-for-lgbtq-students/.
8
    Sarasota County Schools, Creating Safe Schools for All Students: Gender Diverse Student Outlines, at 3 (last
           reviewed March 25, 2022),
           https://www.sarasotacountyschools.net/cms/lib/FL50000189/Centricity/Domain/1174/revised%20Gender%
           20Diverse%20Guidelines%20FINAL_10232018.pdf.




                                                      -36-
         Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 37 of 114




nonconforming students; and best practices to ensure that transgender students and

gender nonconforming students have equitable access to all aspects of school life

(academic, extracurricular and social) in ways that preserve and protect their

dignity.” 9 These guidelines highlight existing district policies that support LGBTQ
                   8F




youth, including prohibitions against anti-discrimination, bullying, and harassment,

and include best practices to support and ensure the safety of all students. 10                       9F




            108. Similarly, Broward County School District, where Plaintiff Berg

teaches, has sought to “promote safer schools and create more welcoming and

affirming learning environments” for LGBTQ students, those perceived to be

LGBTQ, and their allies. 11 As an example, Broward County requires an “inclusive
                                    10F




curriculum” that must at least include literature written by LGBTQ authors, history

including LGBTQ public figures, discussions of families including same-sex parents

and relevant topics encompassing the diversity of LGBTQ young people, and

recognition of national LGBTQ events. 12 Broward County has also adopted an anti-
                                                       11F




9
    Miami-Dade County Public Schools, Guidelines for Promoting Safe and Inclusive Schools, at 2 (last revised July
          2020), https://api.dadeschools.net/WMSFiles/94/pdfs/GUIDELINES-FOR-PROMOTING-SAFE-07-
          2020.pdf.
10
     Id. at 2, 9-11.
11
     Broward County Public Schools, Lesbian, Gay, Bisexual, Transgender, Questioning + Critical Support Guide, at
          iv (2012),
          https://www.browardschools.com/cms/lib/FL01803656/Centricity/Domain/13475/BCPS%20LGBTQ%20C
          ritical%20Support%20Guide%20Edition%20III%202020FinalRev2421.pdf.
12
     Id. at 4-5.




                                                             -37-
         Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 38 of 114




bullying policy that prohibits bullying and harassment based on sexual orientation,

gender identity, and gender expression. 13             12F




            109. The Palm Beach County School District has supported LGBTQ youth

by requiring an inclusive curriculum that covers, among other things, the history and

social movements of LGBTQ people, discussions of families that include same-sex

parents/caregivers, and relevant topics encompassing the diversity of LGBTQ young

people. It also has adopted an Anti-Bullying Roundtable and Strategic Plan, which

includes safe environments for all students and staff. 14 15             13F   14F




            110. These measures have helped to create an inclusive environment for

LGBTQ students that is critical to meeting their educational needs. 16 They have                15F




13
     Id. at 5-6.
14
     School District of Palm County, The School District of Palm Beach County LGBTQ+ Critical Support Guide, at
           5-6 (2d ed. 2021),
           https://p14cdn4static.sharpschool.com/UserFiles/Servers/Server_270532/File/Curriculum/Middle%20&%2
           0HS/LGBTQ_Critical_Support_Guide_SDPBC_v02_2021.pdf.
15
     Other counties have adopted similar guidelines. See Alachua County Public Schools, LGBTQ+ Critical Support
           Guide                             (Dec.                           8,                              2021),
           https://web.archive.org/web/20211222213631/https:/go.boarddocs.com/fl/alaco/Board.nsf/files/C9HSYJ73
           00DD/$file/LGBTQ+%20Critical%20support%20Guide.pdf; Duval County Public Schools, LGBTQ+
           Support                                          Guide                                           (2020),
           https://s3.documentcloud.org/documents/21988102/dcps_lgbtq_support_guide_2020.pdf;         Hillsborough
           County Public Schools, Lesbian, Gay, Bi-Sexual, Transgender, and Questioning/Queer (LBGTQ+) Critical
           Resource and Support Guide for Staff (Aug. 31, 2021), https://www.wfla.com/wp-
           content/uploads/sites/71/2022/02/Hillsborough-Schools-LGBTQ-Critical-Resource-Guide-2021-
           08.31.21.pdf; Pinellas County Schools, Inclusive Schools Support Guide: Promoting Safe and Inclusive
           Schools (May 28, 2020), http://www.pccpta2020.com/wp-content/uploads/2021/09/Inclusive-Schools-
           Support-Guide_FINAL_5.28.20.pdf; Volusia County Schools, Lesbian, Gay, Bi-sexual, Transgender and
           Questioning       (LGBTQ)        Support      Guide      (2020),     https://beacononlinenews.com/wp-
           content/uploads/2022/03/VCS-LGBTQ-Support-Guide-2020.pdf.
16
     See, e.g., 2018-2019 NEA Resolutions, at 219-220, NATIONAL EDUCATION ASSOCIATION OF THE UNITED STATES
            OF AMERICA (2019), https://my.lwv.org/sites/default/files/resolutions_nea_hb_2019.pdf (recommending
            that schools adopt “inclusive educational programs that address the unique needs and concerns” of LGBTQ
            students).




                                                             -38-
         Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 39 of 114




also promoted the safety and acceptance of LGBTQ students, who are uniquely at

risk of harassment, depression, and other negative educational experiences because

of their sexual orientation or gender identity. See infra Part IV.

III.       H.B. 1557 was enacted to undercut these developments, harm LGBTQ
           students, and stifle speech
           111. H.B. 1557 seeks to undo all of this. Although it is formally entitled the

“Parental Rights in Education Act,” it is popularly and more accurately known as

Florida’s “Don’t Say Gay” law. H.B. 1557 is avowedly aimed at eliminating, and

already has begun to eliminate, any recognition or discussion of LGBTQ persons in

public schools.

           Vague Statutory Text

           112. In relevant part, H.B. 1557 amends Florida Statutes Section 1001.42 to

add new subsection 8(c)(3), which provides:

                    Classroom instruction by school personnel or third parties
                    on sexual orientation or gender identity may not occur in
                    kindergarten through grade 3 or in a manner that is not
                    age-appropriate or developmentally appropriate for
                    students in accordance with state standards.

           113. The law does not define the subject matter of the speech it seeks to

prohibit. Nowhere does it even attempt to define its operative terms. “Classroom

instruction” is left undefined, as are “sexual orientation” and “gender identity.” 17                             16F




17
     Adding to its intended vagueness, the Preamble to H.B. 1557 states that it is a law “prohibiting classroom
          discussion about sexual orientation or gender identity.” (Emphasis added.)




                                                          -39-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 40 of 114




Nor does the law define the actors whose speech is restricted: “school personnel”

could span from teachers to principals to guidance counselors, while “third parties”

ostensibly reaches anyone outside of the school personnel context, including parents,

other family members, and even students.

      114. The law’s prohibitions expressly apply in grades K-3. But despite the

statements of many of the law’s supporters, they do not stop there. H.B. 1557 applies

to any grade where “classroom instruction” is “not age-appropriate or

developmentally appropriate in accordance with state standards.” As with its other

core provisions, the law does not define what those “state standards” are. The law

does require the Department of Education to “review and update” “school

counseling frameworks and standards; educator practices and professional conduct

principles; and any other student services personnel guidelines, standards, or

frameworks,” but even that need not occur until June 30, 2023—a year after the law

goes into effect.

      115. In the meantime, any parent with a “concern” about a violation of H.B.

1557 may sue their school district for court costs and attorneys’ fees, subject only to

the requirement to give 30 days’ notice. Notably, H.B. 1557 places no limit on when

parents can sue school districts, and legislators rejected an amendment that would

allow districts to recover costs and fees if they prevail. This means that parents will

be able to file suit long before the Department of Education may provide any



                                         -40-
         Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 41 of 114




guidance as to the meaning of certain aspects of the law, with little repercussion.

Going forward, it will be “open season” on Florida school boards, who will find

themselves under the constant threat of paying legal fees and costs if they do not

accede to any parent’s demand to remove content, quell discussion, or ban curricula

that the parent views as implicating H.B. 1557.

           116. H.B. 1557’s vagueness gives rise to a host of intractable interpretive

questions that further invite discriminatory enforcement and broad censorship.

           117. Indeed, the list of unanswerable questions is virtually endless.

           118. For example, does H.B. 1557 require the removal of all library books

with LGBTQ characters or families, or those with discussion of LGBTQ history?

What about book fairs (attended by third parties) that have books with same-sex

families or reference LGBTQ issues?                            Some parents have already requested

catalogues of their school’s library materials, no doubt intending to challenge any

materials that hint at LGBTQ issues or people as prohibited under the new law. 18                                 17F




           119. Another question that is likely to present itself in short order is whether

H.B. 1557 bans teachers from participating in Gay-Straight Alliances. The statutory

text is decidedly unclear. But, anticipating the passage of H.B. 1557, some parents

have already sought information about teachers who are affiliated with GSAs.

18
     H.B. 1557 is hardly the first instance of an effort to ban books that touch on LGBTQ persons and issues. See, e.g.,
           Matt Lavietes, From book bans to ‘Don’t Say Gay’ bill, LGBTQ kids feel ‘erased’ in the classroom, NBC
           NEWS (Feb. 20, 2022), https://www.nbcnews.com/nbc-out/out-news/book-bans-dont-say-gay-bill-lgbtq-
           kids-feel-erased-classroom-rcna15819.




                                                          -41-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 42 of 114




      120. Equally intractable questions will arise on a daily basis. To pose just a

few of them: Does the law prohibit students from asking—or teachers from

answering—questions about their families, or other families? Can students ask—

and teachers answer—questions about historical events involving LGBTQ people?

Would H.B. 1557 ban a teacher from discussing gay-rights decisions, like Bostock

v. Clayton County, 140 S. Ct. 1731 (2020), where the Supreme Court held that

LGBTQ persons cannot be discriminated against in employment? If a student writes

a paper in which they discuss their gender identity or sexual orientation—and relate

it to their argument—could a teacher not grade it? If the teacher did grade it, would

they be prohibited from commenting on any aspect of the paper or discussing it with

the student, thus leaving LGBTQ students at a systematic educational disadvantage?

      121. Another deeply troubling context is school bullying. Does H.B. 1557

prohibit teachers from addressing LGBTQ issues that regularly arise in student-on-

student bullying, for instance where the victim is gay or transgender and the bullying

is partly the result of anti-LGBTQ prejudice?

      122. Parents are also affected. What does the law require when parents come

to talk to students about their jobs and one mentions their same-sex or transgender

partner? Can a student’s LGBTQ parents come into the classroom at all? Can a

kindergarten student draw a picture of their LGBTQ parents? If they do, can the




                                        -42-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 43 of 114




teacher grade it? Can the teacher post it on the board with other students’ drawings,

or are students with same-sex parents excluded from such classroom projects?

      123. Because H.B. 1557 was deliberately written to be vague and terrifying,

all in service of discriminatory purposes, none of these questions are answerable by

reference to either the text of the statute or any standard interpretive principle. The

law uses sweeping language that fails to provide notice to a reasonable person of

what is prohibited, while inviting arbitrary and abusive enforcement.

      Discriminatory Purpose

      124. The future of public education in Florida under this regime is apparent.

It is one that goes backwards in time to an era of discrimination and abandons

Florida’s duty—and many school districts’ efforts—to provide a meaningful and

inclusive education for all students. Presented with vague prohibitions under the

threat of litigation, schools and educators will be chilled from discussing or even

referencing LGBTQ people, and LGBTQ students will be stigmatized, ostracized,

and denied the educational opportunities that their non-LGBTQ peers receive.

      125. That is precisely what the Florida lawmakers who supported and passed

this law intended. Indeed, in statements reminiscent of what was said in Congress

about the so-called Defense of Marriage Act in 1996, legislators and Governor

DeSantis have been crystal-clear about their goal of eliminating any discussion about

LGBTQ identities and issues from public schools. Just as legislators’ statements



                                         -43-
        Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 44 of 114




evidenced DOMA’s aim to interfere “with the equal dignity of same-sex marriages,”

Windsor, 570 U.S. at 771-72, the statements here reflect a clear hostility towards and

disapproval of LGBTQ students, parents, and teachers.

           126. For example, the sponsor of H.B. 1557 in the Senate, Senator Dennis

Baxley, openly admitted that the law is intended to prohibit discussions about sexual

orientation and gender identity of LGBTQ students. He warned that “everybody

now is all about coming out when you’re in school” and there is a “concern” about

“kids trying on different kinds of things they hear about and different kinds of

identities and experimenting.”                Senator Baxley added that “parents are very

concerned about the departure from the core belief systems and values.” He also

claimed that “75% of people . . . agree with me that there’s something wrong with

how we’re emphasizing this and all of a sudden overnight [students] are a celebrity

when they felt like they were nobody.” These statements reveal an overt purpose of

discriminating against LGBTQ people and their families—different kinds of

identities that depart from Senator Baxley’s core belief systems and values—and an

express desire to impose censorship in hopes of stamping out any recognition of

LGBTQ identity. 19      18F




19
     Fla. S., recording of proceedings, at 08:09:30-08:12:00 (Mar. 7, 2022 at 10:00 AM),
            https://www.flsenate.gov/media/VideoPlayer?EventID=1_nty0d3lq-202203071000&Redirect=true.




                                                     -44-
         Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 45 of 114




           127. Were there any doubt, when Senator Baxley was asked if the reason for

H.B. 1557 is that “there seems to be a big uptick in the number of children who are

coming out as gay or experimenting and therefore we need to not discuss it in the

younger grades,” he responded: “[W]e know there are social inputs into how people

act and what they decide to do so, yeah, that’s part of our concern for the well-being

of our children.” 20 As another senator observed, Senator Baxley’s comments are
                          19F




“what the court points to and quotes as a prima facie case, on its face, of invidious

discrimination for what we have targeted and we have selected as a protected

class.” 21  20F




           128. In other contexts, Senator Baxley has explained that H.B. 1557 is

designed to prevent discussion of LGBTQ families. At a Senate hearing on February

8, 2022, Republican Senator Travis Hutson gave the example of a math problem that

includes the details that “Sally has two moms or Johnny has two dads.” Senator

Baxley said that is “exactly” what the law aims to prevent. 22                       21F




20
     Fla. S., recording of proceedings, at 08:12:00-08:13:00 (Mar. 7, 2022 at 10:00 AM),
            https://www.flsenate.gov/media/VideoPlayer?EventID=1_nty0d3lq-202203071000&Redirect=true.
21
     Kelly Hayes, ‘Gay is not a permanent thing’: Legislature passes bill to restrict LGBTQ topics in elementary schools,
           FLORIDA POLITICS (Mar. 9, 2022), https://floridapolitics.com/archives/505744-gay-is-not-a-permanent-
           thing-legislature-sends-controversial-parental-rights-bill-to-governor/. Consistent with his discriminatory
           aim behind H.B. 1557, in 2018 Senator Baxley told his constituents: “I know some districts where there’s a
           big infestation of homosexuals that are pushing their agenda . . . .”
22
     Madeline Carlisle, Florida Just Passed the “Don’t Say Gay” Bill. Here’s What It Means for Kids, TIME (Mar. 8,
           2022), https://time.com/6155905/florida-dont-say-gay-passed/.




                                                          -45-
         Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 46 of 114




           129. H.B. 1557’s sponsor in the House, Republican Joe Harding, has also

been forthcoming about the law’s discriminatory focus on LGBTQ students and

issues. Representative Harding justified the law on the basis that talking about

sexual orientation and gender identity could result in students “hav[ing] one identity

in school and one at home because the school encourages that kind of behavior.” 23                                 22F




           130. Other supporting legislators have been equally candid that H.B. 1557 is

intended to bar discussions of gay, lesbian, and bisexual orientations and transgender

identities, i.e., anything besides the heterosexual and cisgender identities that they

believe are aligned with “core belief systems and values.” 24                     23F




           131. For instance, in voicing support for H.B. 1557, Representative Juan

Fernandez-Barquin claimed: “We have children as young as six years old being

taught the radical leftist gender theory and that is frightening.” 25 Senator Ileana        24F




Garcia also suggested that discussions of sexual orientation should be prohibited

because “‘gay’ is not a permanent thing. LGBT is not a permanent thing.” 26                              25F




23
     Kirby Wilson, Republicans made changes to ‘don’t say gay’ bill. LGBTQ advocates aren’t buying it, TAMPA BAY
           TIMES (Feb. 18, 2022), https://www.tampabay.com/news/florida-politics/2022/02/17/republicans-made-
           changes-to-dont-say-gay-bill-lgbtq-advocates-arent-buying-it/.
24
     Fla. S., recording of proceedings, at 08:11:30-08:12:00 (Mar. 7, 2022 at 10:00 AM),
            https://www.flsenate.gov/media/VideoPlayer?EventID=1_nty0d3lq-202203071000&Redirect=true.
25
     Kelly Hayes, ‘We are in distress’: House passes LGBTQ instruction bill despite pleas from Democrats, FLORIDA
           POLITICS (Feb. 24, 2022), https://floridapolitics.com/archives/500337-we-are-in-distress-house-passes-
           lgbtq-instruction-bill-despite-pleas-from-democrats/.
26
     Kelly Hayes, ‘Gay is not a permanent thing’: Legislature passes bill to restrict LGBTQ topics in elementary
           schools, FLORIDA POLITICS (Mar. 9, 2022), https://floridapolitics.com/archives/505744-gay-is-not-a-
           permanent-thing-legislature-sends-controversial-parental-rights-bill-to-governor/.




                                                         -46-
        Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 47 of 114




           132. The premise of H.B. 1557 is that if schools and educators ignore the

realities and concerns of their LGBTQ students, those students will be discouraged

or deterred from being who they are, and will instead be heterosexual, cisgender

members of society, as the State of Florida would apparently prefer them to be.

           133. This effort to wipe out LGBTQ identity constitutes illegal

discrimination, plain and simple.

           134. Governor DeSantis, in turn, has left zero question that this is the reason

for H.B. 1557. As he has explained: “We’ve seen instances of students being told

by different folks in school, ‘Oh, don’t worry. Don’t pick your gender yet. Do all

this other stuff.’” He voiced his support for the law because he does not approve of

“injecting these concepts about choosing your gender” in schools. 27                      26F




           135. Governor DeSantis also made clear that H.B. 1557’s limitation on

“sexual instruction” does not apply to instruction on heterosexuality and cisgender

identities. Rather, he asked rhetorically, “How many parents want their kids to have

transgenderism or something injected into classroom instruction?” 28                            27F




           136. Governor DeSantis’s press secretary, Christine Pushaw, confirmed this

understanding. She called H.B. 1557 an “Anti-Grooming Bill” and said that “[i]f



27
     Li Cohen, Florida advances ‘Don’t Say Gay’ bill that would bar LGBTQ discussions in schools, CBS NEWS (Feb.
           18, 2022), https://www.cbsnews.com/news/florida-dont-say-gay-bill-lgbtq-schools-senate-committee/.
28
     Florida Governor DeSantis defends controversial ‘Don’t Say Gay’ bill, CBS NEWS (Mar. 5, 2022),
           https://www.cbsnews.com/news/florida-governor-desantis-defends-dont-say-gay-bill/.




                                                       -47-
        Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 48 of 114




you’re against the Anti-Grooming Bill, you are probably a groomer or at least you

don’t denounce the grooming of 4-8 year old children.” 29 She has also stated that 28F




“[a]ny adult who wants to discuss sexual and gender identity topics with other

people’s 5- to 8-year-old children—while keeping this a secret from their parents—

is either a groomer or is complicit in promoting an environment where grooming

becomes normalized.” 30 Charitably read, Pushaw’s statements imply that even
                                   29F




discussing LGBTQ issues or acknowledging LGBTQ people’s existence entices

students to “become” LGBTQ; less charitably and perhaps more accurately read,

they are a grotesque assertion that school personnel who discuss LGBTQ issues with

students are akin to molesters. 31           30F




           137. Pushaw’s statements were echoed by other supporters of H.B. 1557,

who grasped the law’s discriminatory intent. For instance, the Florida Family Policy

Council, a group that lists as a core issue “LGBT Agenda & Transgenderism,” has

called H.B. 1557 the “Don’t turn my son into a daughter bill.” 32                          31F




29
     Christina Pushaw (@ChristinaPushaw), TWITTER (Mar. 4, 2022, 6:33 PM),
            https://twitter.com/ChristinaPushaw/status/1499890719691051008.
30
     Christina Pushaw (@ChristinaPushaw), TWITTER (Apr. 5, 2022, 9:12 AM),
          https://twitter.com/ChristinaPushaw/status/1511331024541782020.
31
     See Monica Hesse, Fans of Florida’s ‘Don’t Say Gay’ bill have a new favorite word: ‘grooming,’ WASH. POST
          (Mar. 12, 2022), https://www.washingtonpost.com/lifestyle/2022/03/12/florida-dont-say-gay-bill/. In fact,
          there is a very real risk that the law will adversely impact the detection and prevention of child abuse insofar
          as instances of sexual abuse and related behaviors are often reported to, or by, teachers and other school
          personnel. Measures that limit open lines of communication between students and teachers tend to result in
          students being afraid or ashamed to speak up about potentially problematic conduct or behavior.
32
     Florida Family Policy Council, About FFPC, https://www.flfamily.org/about-ffpc (last visited May 23, 2022);
            Florida Family Policy Council, Legislative Session Week 7 of 9 – February 25, 2022 (Feb. 25, 2022),
            https://www.flfamily.org/uncategorized/week-7-of-9-insiders-report-legislative-session.




                                                           -48-
        Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 49 of 114




          138. Were there any lingering doubt as to the punitive and discriminatory

intent behind H.B. 1557, on March 10, shortly before he signed it into law, Governor

DeSantis again stated that “[i]n the state of Florida, we are not going to allow them

to inject transgenderism into kindergarten.”                          He added, “[w]e don’t want

transgenderism in kindergarten and first grade classrooms.” 33 And after the bill was
                                                                                32F




passed, Governor DeSantis expressed his intention to “go on offense” against

“injecting transgender ideology into kindergarten classrooms.” 34                     33F




          139. Governor DeSantis has not expressed concerns about students

identifying as cisgender (or heterosexual) at any age.

          140. The mentality behind these statements is clear: discussions about

LGBTQ people are wrong and must be prohibited because the mere recognition of

LGBTQ existence will make otherwise heterosexual and cisgender children more

likely to be gay and transgender. It is also a direct statement to LGBTQ children

that you are not normal and if you can’t change, you should hide your identity. H.B.

1557 is not even a dog whistle; it is an open declaration of discrimination against

LGBTQ children and children with LGBTQ parents. A law whose purpose is to

prevent people from being LGBTQ is not only ridiculous, unscientific, and at odds


33
     DeSantis slams ‘woke’ Disney after CEO condemns parents’ rights bill, FOX NEWS (Mar. 11, 2022),
          https://video.foxnews.com/v/6300358476001#sp=show-clips.
34
     Christina Pushaw (@ChristinaPushaw), TWITTER (Apr. 22, 2022, 9:11 PM),
            https://twitter.com/ChristinaPushaw/status/1517672480571330566?s=20&t=pNnN0_XA5DfCsSbanAtxM
            A.




                                                      -49-
        Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 50 of 114




with reality; it is also offensive and unconstitutional. See Obergefell, 576 U.S. at

661 (“[P]sychiatrists and others [have] recognized that sexual orientation is both a

normal expression of human sexuality and immutable.”).

           141. Indeed, the legislative record is remarkably sparse with respect to any

particular examples of “classroom instruction” that H.B. 1557 was somehow meant

to “fix.” Instead, other than overtly discriminatory statements, proponents relied

upon vague and generalized assertions about problems the law is intended to address.

For instance, when asked for “specific examples” of why H.B. 1557 was needed in

response to “lesson plans,” Senator Baxley, the bill’s sponsor in the Senate,

suggested that others “visit some of the websites.” 35               34F




           Doubling Down on Chilling Speech and Promoting Discrimination

           142. The intentional vagueness and discriminatory purpose of H.B. 1557 is

further shown by the repeated refusal of lawmakers to adopt language that might

mitigate the law’s widely recognized discriminatory and chilling effects.

           143. Representative Carlos Smith introduced Amendment No. 703365 to

replace “sexual orientation or gender identity” with “sexual activity.”                                      That

amendment failed. 36       35F




35
     Fla. S. Comm. on Appropriations, recording of proceedings, at 46:00-47:00 (Feb. 28, 2022 at 10:00 AM)
            https://www.flsenate.gov/media/VideoPlayer?EventID=1_zc8d1g0v-202202281030&Redirect=true.
36
     Fla. H.R, recording of proceedings, at 03:43:30-03:47:30 (Feb. 2, 2022 at 1:00 PM),
            https://www.flsenate.gov/media/VideoPlayer?EventID=1_zp1pj23y-202202221300&Redirect=true.




                                                       -50-
        Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 51 of 114




           144. Senator Jeff Brandes (a Republican) similarly proposed several

amendments to replace “sexual orientation or gender identity” with “human

sexuality or sexual activity.” He stated: “If the intent of this bill isn’t to marginalize

anyone, let’s make sure we aren’t.” But his amendments failed. Senator Baxley

commented that Senator Brandes’s amendments would “significantly gut” the law’s

intent—once again confirming that his goal was to marginalize LGBTQ people. 37                                36F




           145. Senator Lauren Book proposed Amendment No. 755282 to clarify that

“‘classroom instruction’ does not include instruction or discussion relating to”

“family structures,” “objective historical events,” “bullying prevention,”

“discussions between students,” and “questions asked by students and any answer.”

That amendment failed. 38          37F




           146. Senator Randolph Bracy and Representative Marie Paule Woodson

proposed Amendments Nos. 734244 and 600607, respectively, to clarify that the law

“does not apply to any discussion between a student who identifies as transgender,

gender nonconforming, non-binary, or otherwise LGBTQ and their peers.” Those

amendments failed. 39        38F




37
     Fla. S. Comm. on Appropriations, recording of proceedings, at 01:04:00-01:07:00 (Feb. 28, 2022 at 10:00 AM),
            https://www.flsenate.gov/media/VideoPlayer?EventID=1_zc8d1g0v-202202281030&Redirect=true.
38
     Fla. S., recording of proceedings, at 05:23:30-05:33:30 (March 7, 2022 at 10:00 AM),
            https://www.flsenate.gov/media/VideoPlayer?EventID=1_nty0d3lq-202203071000&Redirect=true.
39
     Fla. S., recording of proceedings, at 05:33:30-05:37:00 (Mar. 7, 2022 at 10:00 AM),
            https://www.flsenate.gov/media/VideoPlayer?EventID=1_nty0d3lq-202203071000&Redirect=true; Fla.
            H.R, recording of proceedings, at 03:47:30-03:54:00 (Feb. 2, 2022 at 1:00 PM),
            https://www.flsenate.gov/media/VideoPlayer?EventID=1_zp1pj23y-202202221300&Redirect=true.




                                                        -51-
        Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 52 of 114




           147. Senator Tina Polsky proposed Amendment No. 290096 to clarify that

“sexual orientation” “means an individual’s heterosexuality, homosexuality, or

bisexuality,” and “gender identity” means “gender-related identity, appearance or

behavior, regardless of whether such . . . is different from that traditionally associated

with an individual’s physiology or assigned sex at birth.” That amendment failed. 40                    39F




           148. Senator Gary Farmer proposed Amendment No. 175814 to amend a

different provision of the Florida Education Code that requires health education to

“teach[] the benefits of monogamous heterosexual marriage,” by striking the word

“heterosexual.” Fla. Stat. § 1003.46(2)(a) (2021). That amendment failed. 41                     40F




           149. Representative Fentrice Driskell introduced Amendment No. 194533 to

require a court to “award reasonable attorney fees and court costs” to prevailing

school districts. That amendment failed. 42           41F




           150. The fact that these amendments failed further demonstrates the law’s

true purpose. H.B. 1557 is not about prohibiting “classroom instruction” on “sexual

orientation” and “gender identity” that is not “age-appropriate or developmentally

appropriate.”          Florida law already requires that health education, including




40
     Fla. S., recording of proceedings, at 04:50:30-04:55:00 (March 7, 2022 at 10:00 AM),
            https://www.flsenate.gov/media/VideoPlayer?EventID=1_nty0d3lq-202203071000&Redirect=true.
41
     Fla. S., recording of proceedings, at 04:29:00-04:33:30 (Mar. 7, 2022 at 10:00 AM),
            https://www.flsenate.gov/media/VideoPlayer?EventID=1_nty0d3lq-202203071000&Redirect=true.
42
     Fla. H.R, recording of proceedings, at 04:23:00-04:28:30 (Feb. 2, 2022 at 1:00 PM),
            https://www.flsenate.gov/media/VideoPlayer?EventID=1_zp1pj23y-202202221300&Redirect=true.




                                                     -52-
         Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 53 of 114




instruction on “human sexuality,” “[p]rovide instruction and material that is

appropriate for the grade and age of the student.” Fla. Stat. § 1003.46(2)(d) (2021). 43                           42F




Moreover, as the failed amendments make clear, the Legislature is perfectly capable

of providing greater specificity when it wants to do so.

            151. Any doubt on that score is confirmed by another recent enactment

(albeit one that suffers from distinct infirmities): the “Stop WOKE Act.” 44 There,                     43F




in seeking to prohibit “instruction” in public schools on critical race theory, the

Legislature listed eight specific “concepts,” such as that “[a] person, by virtue of his

or her race, color, national origin, or sex is inherently racist, sexist, or oppressive,

whether consciously or unconsciously.” 45 Thus, when the Legislature undertakes to
                                                         44F




declare, with some level of specificity, what it doesn’t want taught in schools, it

obviously knows how to do so. But here—in sharp contrast—the Legislature refused

to provide any specifics about what “classroom instruction on sexual orientation or

gender identity” means. Instead, it chose to enact a highly vague provision that

invites arbitrary and discriminatory enforcement against LGBTQ people—exactly

as the Legislature intended.




43
     This same provision, as noted, requires that instruction on human sexuality “[t]each the benefits of monogamous
            heterosexual marriage,” Fla. Stat. § 1003.46(2)(a) (2021), and in passing H.B. 1557 lawmakers refused to
            strike “heterosexual” from this text.
44
     H.B. 7 (2022).
45
     Id. § 2.




                                                         -53-
        Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 54 of 114




           152. The Legislature did not define the prohibited “instruction” here because

H.B. 1557 is aimed at (and already is) stifling all discussion about LGBTQ people,

families, and issues, in response to lawmakers’ stated concerns about LGBTQ

persons and issues having any presence in schools. And it accomplishes that aim

through deliberately ambiguous and expansive proscriptions.

           153. The discriminatory purpose of H.B. 1557 is further apparent from a

persistent pattern of efforts by the current Legislature and Governor to use the

legislative process to ostracize and harm LGBTQ people.

           154. In December 2021, Governor DeSantis’s administration took down a

Department of Education web page that provided anti-bullying resources to help

promote safe school environments and address high rates of suicide after a right-

wing online publication, the Florida Capital Star, raised questions with the

Department about the inclusion of links to resources for LGBTQ young people. 46                               45F




That page was restored after the LGBTQ-related references were removed.

           155. Last year, Governor DeSantis line-item vetoed all LGBTQ-related

funding from the budget, including money earmarked for mental health




46
     Brody Levesque, Florida’s DeSantis attacks LGBTQ youth by removing website resource, LOS ANGELES BLADE
           (Dec. 6, 2021), https://www.losangelesblade.com/2021/12/06/floridas-desantis-attacks-lgbtq-youth-by-
           removing-website-resource/.




                                                       -54-
        Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 55 of 114




programming to support survivors of the Pulse night club massacre, to house

homeless LGBTQ children, and for Orlando’s LGBTQ community center. 47                                 46F




           156. H.B. 1557 is merely the latest in a sequence of discriminatory laws and

policies.

           157. And H.B. 1557 itself reflects a longer history in which opponents of

LGBTQ rights have used narratives of “depravity” and “grooming” to try to justify

altering the school environment in ways meant to discriminate against LGBTQ

people. 48  47F




           158. During a press conference on March 28, 2022, Governor DeSantis

seized these narratives, stating falsely that critics of H.B. 1557 “support sexualizing

kids in kindergarten” and “enabling schools to, quote, transition students to a, quote,

different gender without the knowledge of the parent.” 49                  48F




IV.        H.B. 1557 will inevitably harm the LGBTQ community and, in fact, is
           already doing so
           159. H.B. 1557’s discrimination against the LGBTQ members of Florida’s

public schools is plain. In purpose and effect, it denies their existence, demeans their

families, and demands their silence. It thus “generates a feeling of inferiority as to



47
     Office of Governor Ron DeSantis, 2021 Veto List (2021),
            https://www.flgov.com/wp-content/uploads/2021/06/2021-Veto-List-Final.pdf.
48
     See, e.g., Clifford Rosky, Anti-Gay Curriculum Laws, 117 COLUM. L. REV. 1461 (2017).
49
     Ryan Dailey, DeSantis signs bill on how schools handle sexual orientation, gender identity, PALM COAST
          OBSERVER (Mar. 28, 2022), https://www.palmcoastobserver.com/article/desantis-signs-bill-on-how-
          schools-handle-sexual-orientation-gender-identity.




                                                       -55-
        Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 56 of 114




[their] status in the community that may affect their hearts and minds in a way

unlikely ever to be undone.” Brown, 347 U.S. at 494. By denying to LGBTQ

students, teachers, and families “full citizenship stature—equal opportunity to

aspire, achieve, participate in and contribute to society,” Florida violates equal

protection principles. United States v. Virginia, 518 U.S. 515, 532 (1996). Cf.

Obergefell, 576 U.S. at 670 (“It demeans gays and lesbians for the State to lock them

out of a central institution of the Nation’s society.”).

           160. H.B. 1557 is especially pernicious because it will invariably harm, and

already is harming, a group that has faced heightened mental and physical risks. As

President Biden recognized in condemning the law, H.B. 1557 is “designed to target

and attack the kids who need support the most—LGBTQI+ students, who are already

vulnerable to bullying and violence just for being themselves.” 50                 49F




           161. The Trevor Project’s 2021 National Survey on LGBTQ Youth Mental

Health found that 42% of LGBTQ youth seriously considered attempting suicide in

the last year. 72% of respondents reported symptoms of generalized anxiety disorder

in the last two years. 62% reported symptoms of major depressive disorder in the



50
     Anthony Izaguirre, White House denounces Florida GOP over ‘Don’t Say Gay’ bill, ASSOCIATED PRESS (Feb. 8,
          2022), https://apnews.com/article/education-florida-73ffe14f403d95e0cc09f2804d0d9ffe. The American
          Academy of Child and Adolescent Psychiatry has likewise asserted that H.B. 1557 “blocks teachers and
          educators from talking about LGBTQ+ issues and undermines existing protections for LGBTQ+ youth and
          families in schools.” American Academy of Child & Adolescent Psychiatry, Florida’s ‘Don’t Say Gay or
          Trans’ Law Stigmatizes LGBTQ+ Youth and Families (Mar. 18, 2022),
          https://www.aacap.org/AACAP/zLatest_News/Floridas_Dont_Say_Gay_or_Trans_Law_Stigmatizes_LGB
          TQ_Youth_Families.aspx.




                                                      -56-
        Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 57 of 114




last two weeks. And nearly half wanted counseling from mental health professionals

but did not receive it. 51     50F




           162. With respect to Florida schools specifically, the Gay, Lesbian and

Straight Education Network’s (“GLSEN”) 2019 National School Climate Survey

found that the school climate in Florida is “not safe” for most LGBTQ secondary

school students, even before enactment of H.B. 1557. 52 94% of respondents heard
                                                                            51F




students use “gay” in a negative way, 80% heard other homophobic remarks (e.g.,

“fag”) or negative remarks about gender expression, and 72% heard negative

remarks about transgender people. Roughly 10% of respondents were victims of

physical assault based on their sexual orientation or gender expression, and only

28% of LGBTQ students who reported incidents of verbal or physical harassment or

assault said it resulted in effective staff intervention.

           163. Students also described an environment of disparate treatment, where

31% were disciplined for public displays of affection that did not result in similar

action for non-LGBTQ students, and 57% of transgender students were unable to

use the bathroom aligned with their gender. Just 9% of students reported attending

a school with a comprehensive anti-bullying and harassment policy that included



51
     National Survey on LGBTQ Youth Mental Health 2021, THE TREVOR PROJECT,
           https://www.thetrevorproject.org/survey-2021/?section=Introduction (last visited May 24, 20022).
52
     2019 State Snapshot: School Climate for LGBTQ Students in Florida, GLSEN (2021),
           https://www.glsen.org/sites/default/files/2021-01/Florida-Snapshot-2019.pdf.




                                                        -57-
        Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 58 of 114




specific protections based on sexual orientation and gender identity and expression,

15% were taught positive representations of LGBTQ people, history, or events, and

only a mere 3% reported receiving LGBTQ-inclusive sex education at school.

           164. Similarly, the Youth Risk Behavior Survey—which is conducted by the

CDC and managed by the Florida Department of Education to monitor priority

health-risk behaviors that contribute substantially to the leading causes of death,

disability, and social problems among youth 53—found that for the first time since
                                                               52F




sexual orientation was added in 2013, there has been an increase in LGBTQ youth

seriously considering suicide. There was no corresponding shift among heterosexual

and cisgender peers. 54       53F




           165. Lurking beneath these statistics is a sobering fact: LGBTQ students will

suffer—and some of them will likely die—if this policy is allowed go into effect.

           166. Indeed, ample research in neuroscience, social science, and education

has demonstrated that threats based on social identity affect the health and education

of students. Put simply, making children feel unsafe causes lasting damage to their



53
     On April 20, 2022, the Florida Department of Education ended its decades-long participation in the Youth Risk
          Behavior Survey, which means that Florida will no longer be collecting data necessary to understand and
          support adolescent health in Florida, including data that will determine the impact H.B. 1557 and other
          anti-LGBTQ laws and policies will have on Florida’s youth. See Evie Blad, Some States Back Away Form
          a Major Student Well-Being Survey. Why, and What it Could Mean, EDUCATION WEEK (May 5, 2022),
          https://www.edweek.org/leadership/some-states-back-away-from-a-major-student-well-being-survey-why-
          and-what-it-could-mean/2022/05.
54
     Youth Risk Behavior Survey: Data Summary & Trends Report 2009-2019, at 98 CENTERS FOR DISEASE CONTROL
           AND PREVENTION (2019)
           https://www.cdc.gov/healthyyouth/data/yrbs/pdf/YRBSDataSummaryTrendsReport2019-508.pdf.




                                                        -58-
         Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 59 of 114




physical health, brain development, and learning. And that is precisely why school

districts have responded with the kinds of affirming and accepting measures that

H.B. 1557 is designed to stamp out.

           167. LGBTQ students who are taught an inclusive curriculum are less likely

to hear homophobic remarks or remarks about gender expressions. They perform

better academically and are more likely to pursue post-secondary education. They

are also significantly more likely to have classmates who are somewhat or very

accepting of LGBTQ people. 55              54F




           168. Having a supportive school environment is also tied to better mental

health. LGBTQ youth who have the benefit of a trusted adult at their school have

higher levels of self-esteem. 56 And anti-bullying policies that are specifically
                                                 55F




protective of LGBTQ students are tied to reduced bullying of LGBTQ students, as

well as decreases in depressive symptoms and less psychological distress; this is also

true for the presence of GSAs. 57 Moreover, affirming transgender and non-binary
                                                       56F




55
     Joseph G. Kosciw et al., The 2019 National School Climate Survey: The Experiences of Lesbian, Gay, Bisexual,
           Transgender, and Queer Youth in Our Nation’s Schools, GLSEN (2020),
           https://www.glsen.org/sites/default/files/2021-04/NSCS19-FullReport-032421-Web_0.pdf.
56
     Adrienne B. Dessel et al., The importance of teacher support: Differential impacts by gender and sexuality, 56 J.
           OF ADOLESCENCE 136 (2019).
57
     Jack Day et al., Gay-Straight Alliances, Inclusive Policy, and School Climate: LGBTQ Youths’ Experiences of
           Social Support and Bullying, 30 J. OF RSCH. ON ADOLESCENCE 418 (2019).




                                                             -59-
        Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 60 of 114




youth by respecting their pronouns is also associated with lower rates of attempted

suicide. 58  57F




           169. In short, LGBTQ students with inclusive educational environments

receive a more equal and fair education; they are less likely to suffer discrimination,

stigma, and harm; and they are more likely to report positive health outcomes.

           170. H.B. 1557 thus will not just stigmatize and mark as “lesser” LGBTQ

students—a serious injury in itself. It also will create and exacerbate environments

where LGBTQ students are more likely to do poorly in school, experience bullying

and harassment, and suffer higher risks to their mental and physical health. Indeed,

a GLSEN survey found that in states with laws widely known as “No Promo Homo”

laws, like H.B. 1557, students were more likely to hear homophobic remarks from

school personnel, staff were far less effective in handling reported incidents of

harassment or assault, and schools were less likely to have LGBTQ-related resources

(such as comprehensive harassment policies, supportive school personnel, and Gay-

Straight Alliances). 59      58F




           171. By banning discussions about LGBTQ students and issues and erasing

LGBTQ students from their schools, H.B. 1557 will cause serious, irreparable, and


58
     National Survey on LGBTQ Youth Mental Health 2021, THE TREVOR PROJECT,
           https://www.thetrevorproject.org/survey-2021/?section=Introduction (last visited May 24, 20022).
59
     Joseph G. Kosciw et al., The 2019 National School Climate Survey: The Experiences of Lesbian, Gay, Bisexual,
           Transgender, and Queer Youth in Our Nation’s Schools, GLSEN (2020),
           https://www.glsen.org/sites/default/files/2021-04/NSCS19-FullReport-032421-Web_0.pdf.




                                                        -60-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 61 of 114




immediate harm to students. Beyond that, H.B. 1557 discriminates against LGBTQ

parents, teachers, and other school personnel by denying their existence and ability

to speak and participate freely in schools. And it injures non-LGBTQ persons who

desire (for themselves or their children) an environment that is free of discrimination

and provides for an open education.

      172. The experiences of the student, parent, teacher, and organizational

Plaintiffs in this case, and many others in Florida, reflect that these harms are already

occurring and will continue to occur absent judicial relief. And, as discussed below,

their experiences are emblematic of others across the state.

      A.     Harm to Students

      173. The student Plaintiffs have already felt and witnessed first-hand the

impact of H.B. 1557.       Passage of this law has led to an environment where

recognition of and discussion about LGBTQ persons and issues is chilled or silenced

completely; LGBTQ students are relegated to second-class status; and LGBTQ

students are unable to obtain as good an education as other students. Indeed, the

evidence to date makes clear that the law’s proscription on “classroom instruction

on sexual orientation and gender identity”—which has not even yet gone into effect

as a technical matter—is already having effects far and wide throughout the Florida

public school system.




                                          -61-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 62 of 114




      174. On April 27, 2022, Moricz was called into his principal’s office and

informed that his upcoming commencement speech as senior class president could

not include material related to his activism, including his activism against H.B. 1557

or his participation in this lawsuit. He was told that should he reference any

forbidden topics during his speech, the administration would shut off his microphone

and halt the ceremony.

      175. Moricz delivered his class president speech at the Pine View graduation

ceremony on May 22, 2022.          Because of his principal’s warning, and the

administration’s threat to cut off his microphone and disrupt the ceremony, Moricz

did not directly address H.B. 1557 or this lawsuit, nor did he say the word “gay.” In

short, he was not permitted to give the speech he had planned to give, and he was

not able to speak his own identity or values.

      176. Instead, he developed a euphemism, in which he spoke about having

curly hair, about the difficulties he faced growing up in Florida with curly hair—

“due to the humidity,” as he put it—and about his own failed and futile efforts to

“straighten his curls.” He said that ultimately he embraced his curly hair, and he

thanked his class and his teachers and principal for accepting and embracing him as

curly-haired (prior to the passage of H.B. 1557). “It’s because of the love I’ve drawn

from this community that I came out to my family,” he said. “Now I’m happy—and

that is what is at stake.” Moricz went on: “There are going to be so many kids with



                                        -62-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 63 of 114




curly hair who need a community like Pine View, and they will not have one.

Instead, they’ll try to fix themselves so that they can exist in Florida’s humid climate.

. . . [My speech] needs to be about this for the thousands of curly-haired kids who

are going to be forced to speak like this for their entire lives as students.” He noted

that his principal had always “loved my curls and loved me.” But, Moricz said,

“those we have given our power to”—a non-explicit reference to the passage of H.B.

1557, which he was forbidden from addressing directly—“are the reason that I have

to stand here and talk about my hair during my graduation speech.” Moricz’s speech

was met with cheers and a standing ovation, and his principal was the first to hug

him.

       177. Moricz’s clever coded language enabled him to navigate the day. As

Moricz always has, he found a way to soldier on, to care for others, and to call for

justice. But he found it dehumanizing to have to speak cagily about his own

identity—to be told, in effect, by the State, that there was something shameful and

wrong about him that he should not say out loud. He had been thinking about and

planning the speech he would give for years, and he was unable to give that speech.

As he rewrote the speech in the weeks following his meeting in the principal’s office,

Moricz was frustrated, hurt, sad, and at times angry that he was being censored and

silenced in his efforts to speak about his own identity and values. He wanted to

speak openly and candidly, as he had learned to do, but he believed that if he defied



                                          -63-
        Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 64 of 114




the principal’s instructions, and the microphones were cut and the ceremony halted,

an event that was meant as a celebration for all the students of his class would be

ruined. He might put at risk the very love and support that had enabled him to

flourish and find happiness at Pine View. Again, Moricz was put to the painful

choice of having to hide or suppress a part of himself—to “straighten his curls”—in

order to find acceptance. He had expected that on the day of his graduation, he

would be accepted and celebrated as his authentic self, without stigma or censorship.

The exercise of State power to stigmatize and censor Moricz thus caused him

considerable emotional harm.

           178. Current LGBTQ students in Florida who are not graduating this year

are also understandably expressing acute fears about the upcoming school year.

Students have reported wanting to “return to the closet” and are scared to express

themselves. 60    59F




           179. Another 17-year-old gay student at Flagler Palm Coast Beach High

School was suspended in March for organizing a school protest opposing H.B. 1557

and defying school officials’ orders not to distribute rainbow pride flags. He has

now been prohibited from running for senior class president. 61                      60F




60
     See Michael Sainato, ‘Hurtful and insulting’: Florida teachers react to the ‘don’t say gay’ bill, THE GUARDIAN
           (Apr. 29, 2022), https://www.theguardian.com/world/2022/apr/29/dont-say-gay-bill-florida-teachers-react.
61
     Gay student says Flagler County school stopping run for student leadership, NEWS4JAX (May 19, 2022),
           https://www.news4jax.com/news/florida/2022/05/19/gay-student-says-flagler-county-school-stopping-run-
           for-student-leadership/.




                                                        -64-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 65 of 114




      180. M.A. has been actively trying to increase teacher education and support

at his school for those teachers who either are not inclined or do not know how to be

supportive of LGBTQ students. A couple of months ago, he drafted and submitted

a proposal to establish a “Committee on Classroom Practices” related to LGBTQ

students. The committee would consist of students and teachers and be charged with

creating guidelines for teachers on how to respond to common problems for LGBTQ

students.

      181. M.A. recognizes that there is little chance that this proposal will be

considered, let alone implemented, as a result of the new law. He has therefore

decided not to pursue conversations with the school on his proposal, as he justifiably

fears that the school will simply ignore him.

      182. M.A. knows that as his teachers face consequences, they will be afraid

to do anything that could potentially violate the law, including acknowledging and

helping LGBTQ students. M.A.’s GSA teacher-advisor has already warned him that

she could potentially lose her job for adjusting pronouns to respect a student’s gender

identity.

      183. M.A. now fears that the very existence of the GSA that he fought for

two long years to establish is at risk. And these fears have already been validated—

the ALSO Youth Board of Directors (which supports GSAs across Florida) recently

cancelled its GSA summit that had been scheduled for April 2022 because of “low



                                         -65-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 66 of 114




attendance” due to a “chilling effect” from H.B. 1557. And a smaller GSA summit

that was supposed to take place in a school facility was moved outside of the school

for fear of running afoul of H.B. 1557.

      184. Similarly, Moricz’s teachers have said that they will need to remove

their images of support, including pride flags and rainbows in the classroom. These

insignia have always indicated to Moricz that he was in a safe and welcoming

environment. But apparently out of fear that this support constitutes “classroom

instruction on sexual orientation or gender identity,” teachers intend to self-censor.

      185. S.S. similarly fears the impact that H.B. 1557 will have on her

classroom experience. For instance, in her AP U.S. history class, the students

recently learned about the Stonewall Riots, a lesson that S.S. found empowering and

validating, not to mention meaningful to her development and education. S.S.

worries that she will no longer be exposed to these kinds of lessons and the resulting

discussions, and that her education will suffer.

      186. Indeed, this has already been borne out. After H.B. 1557 was passed,

one of the teachers in the IB program at S.S’s school was discussing the importance

of women in STEM. Another student asked how the teacher was defining “women,”

and the teacher expressed that she did not want to answer and address the question

because she might get fired. S.S. knows that situations like this will continue to




                                          -66-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 67 of 114




come up, as they always have, and that discussion is likely to be limited because of

H.B. 1557.

      187. While she was comfortable at school prior to the law, she believes that

when the law goes into effect, she will no longer feel that way. She cannot imagine

having to go to school each day knowing that her school environment does not

welcome her. S.S. has begun to experience increased anxiety as she begins to

observe and anticipate changes to her school as a result of H.B. 1557.

      188. S.S. further fears that H.B. 1557 will empower those who have

demonstrated their disapproval of LGBTQ individuals to treat LGBTQ students

differently. One teacher with whom S.S. is close, and who S.S. assists on a regular

basis, has made it clear to her students that she is not supportive of the LGBTQ

community. The teacher has said that any LGBTQ “behavior” should be kept

“behind closed doors.” S.S. finds this ironic because this teacher is incredibly fond

of her. Since the passage of H.B. 1557, S.S. fears that if this teacher finds out that

S.S. is a lesbian, she might feel empowered by the law to justify treating S.S.

differently.

      189. M.A. too shares these worries. In his creative writing class, he often

writes about issues related to his sexual identity and sexual orientation more

generally. For instance, he wrote about H.B. 1557 and how it would impact his life.

Now it is unclear whether he would be able to write such an essay. M.A. also worked



                                        -67-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 68 of 114




on a project in which he was instructed to write a “rant” about an issue that he cares

about. He wrote a response to those who say that gay marriage should be illegal,

including by doing significant legal research into the history of gay marriage. Here,

too, he worries that his education will be stymied by H.B. 1557. Similarly, in his

biology class, M.A.’s peers recently asked what it meant to be transgender. His

teacher explained in an accepting way that she was happy and comfortable in her

body but that some people are not and everyone should be. M.A. believes that this

conversation would no longer be possible.

      190. For these reasons, on March 4, 2022, M.A. sent a letter to his state

senator explaining why the senator should not vote for the bill. He explained:

             History is consistent with common sense: it demonstrates
             that students must feel safe and affirmed, while laws and
             statutes must not unreasonably abridge their individual
             rights at school. Lawmakers are tasked with making sure
             legal statutes are in place to protect student rights. But
             when lawmakers remove those rights, like forcing
             developing children to not communicate their own
             experiences with their peers, they neglect to fulfill their
             duties. It’s a further disservice when teachers, including
             school counselors who have a confidentiality obligation,
             have to tell the students’ parents what they don’t want out
             in public.

      191. The impact on curriculum and educational experiences is not limited to

older students. In Palm Beach County, in early April and prior to the law going into

effect, the Superintendent of Schools wrote a memo to principals mandating them to

remove two children’s books—I am Jazz and Call Me Max, both of which are about


                                        -68-
        Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 69 of 114




transgender youth—from the shelves and put them in a “location where students do

not have access” so that the district could attempt to comply with the law. 62                       61F




           192. Many parents of young children fear the long-term consequences H.B.

1557 could have on their children. These fears are not unfounded. Numerous

psychologists, as well as the American Psychological Association itself, have

commented on how H.B. 1557 is developmentally unhealthy for children in their

early elementary years, particularly since the whole goal of early childhood

education is to socialize young children so that they learn to be part of a broader

community, which obviously necessarily includes safety and acceptance in the

classroom. 63 As the APA has stated, “Prohibiting classroom discussion on these
                 62F




topics sends the message that identifying as LGBTQ is inherently wrong,

stigmatizing and marginalizing children who may realize their difference at a young

age,” and the resulting “increased social isolation and stigma can lead to depression,

anxiety, self-harm and even suicide.” 64            63F




           193. Doe is just 11 years old, yet she too has already felt the impact of the

new law. When Doe’s mother, McClelland, explained the new law to Doe at a high



62
     See Jeffrey Rodack, Florida School District Removes 2 Books About Transgender Kids, NEWSMAX (Apr. 7,
            2022), https://www.newsmax.com/newsfront/florida-schools-law-lgbtq/2022/04/07/id/1064685/.
63
     See Jacqueline Quynh, Psychologists Explain Why HB 1557, Dubbed ‘Don’t Say Gay,’ Is Unhealthy For
            Children, 4 CBS MIAMI (Mar. 29, 2022), https://miami.cbslocal.com/2022/03/29/psychologists-dont-say-
            gay-unhealthy-for-children/.
64
     Press Release, American Psychological Association, APA President condemns Florida’s ‘Don’t Say Gay’ bill
            (Mar. 9, 2022), https://www.apa.org/news/press/releases/2022/03/florida-dont-say-gay.




                                                          -69-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 70 of 114




level, Doe asked McClelland if she is going to be okay. McClelland did not know

how to respond.

      194. McClelland already has heightened anxiety related to her daughter’s

safety at school. McClelland and her family are deeply concerned that H.B. 1557

will operate to stigmatize Doe in school, leading to bullying and ostracization. These

fears have recently been validated: a little over a month after H.B. 1557 was passed,

Doe was outed at school for the first time. Doe has only told two of her peers that

she is transgender. These peers have known for years. Yet, after one of these peers

got mad at Doe, she told a group of other students that she knew “secrets” about

Doe, including that Doe is transgender and that she knows Doe’s “real” name. The

other students then came up to her and started to ask her if she was a boy.

McClelland spoke with Doe’s teacher and administrators about what happened and

the school investigated the incident and disciplined the student, but McClelland

believes that Doe’s new school will not be able to handle such incidents

meaningfully and effectively once H.B. 1557 has gone into effect. School officials

feel similarly: they have told McClelland explicitly that they are not sure what will

happen when issues such as these come up next year.

      195. McClelland’s ability to have open conversations with Doe’s teachers

and school officials is necessary for her to monitor and ensure her daughter’s safety,

as well as make sure her child can learn like every other student. Without having



                                        -70-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 71 of 114




staff and administration who are willing to engage in frank conversations with her,

McClelland reasonably fears that her child’s physical and mental safety are at risk.

Indeed, Doe has already expressed anxiety and fear about substitute teachers to

McClelland, explaining that she is not sure how new substitute teachers feel about

the law and how they may treat her in the classroom as a result.

      196. The VanTices also worry about their sons’ safety and well-being, both

physically and emotionally. They fear that H.B. 1557 will empower and embolden

anyone—students, other parents, and even school officials—who might want to

bully or ostracize their children because of their parents’ sexual orientation.

      197. As heterosexual parents, both Shook and Volmer fear the impact H.B.

1557 will have on their children’s education. They want their children to be taught

that all families are valid and that they can grow up to be themselves and be accepted

in school, no matter their sexual orientation or gender identity. H.B. 1557 will

prevent that from occurring.

      198. Indeed, Shook is already feeling the chilling effect that H.B. 1557 has

on her daughter’s classroom environment. Just a few weeks ago, Shook’s daughter

hoped to bring to school a picture of herself marching in the Miami Pride parade.

She thought this would be a good contribution to a lesson about women’s history

month. But Shook’s daughter’s teacher suggested that would not be a good idea in

light of H.B. 1557, so Shook’s daughter brought in another picture instead. Thus,



                                         -71-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 72 of 114




Shook has already experienced firsthand that she now has to limit what she and her

daughter do and talk about at home—and certainly what her daughter talks about at

school—so as not to put her daughter or her daughter’s teachers in precarious

positions.

         199. Similarly, while talking to his teacher, Morrison’s son, who is only

eight years old, asked her if he could talk about his two moms. His teacher told him

that he could always say something to her privately about them, but that she wasn’t

sure that they would be able to have more public discussions. She also advised him

that this was not something he should talk to administrators about. As a result,

Morrison’s son has now internalized that being gay is a “controversial” and “taboo”

topic.

         200. Since the passage of H.B. 1557 and its vague ban on “classroom

instruction on sexual orientation and gender identity,” Equality Florida’s members

have reported an increase in the number of LGBTQ students experiencing harmful

language or physical attacks from other members of the school community. In most

incidents, students report that the school does little, if anything, to

respond. Moreover, Equality Florida has learned that a transgender student at one

school has been told by their principal that they are not allowed to talk about being

transgender with other students because of the new law.




                                        -72-
        Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 73 of 114




           201. Equality Florida’s members have also faced increased discrimination

and censorship from their school administration because of H.B. 1557. For example,

students at Lyman High School in Seminole County (including students who are

members of Equality Florida), were told that they had to cover pictures of images of

pride flags printed in the 2021-2022 yearbook with white stickers prior to

distribution of the yearbook. While that decision was ultimately reversed after

students raised the issue for their school board, the students were still required to

include stickers alongside the pictures that said that the pictures were not part of a

school-sponsored event. 65        64F




           B.      Harm to Parents and Families
           202. H.B. 1557 is also harming LGBTQ parents, who are being excluded

from their children’s education and stigmatized in front of their children. Many of

these parents are already experiencing the reality that the lessons they have taught

their children about acceptance and inclusion are being undermined by the new law

and its fostering of an environment of discrimination.

           203. For instance, when Dan VanTice was preparing to testify in front of the

Florida State Senate regarding the impact of H.B. 1557 on his family, his son came

up to him and asked if he was going to be able to talk about his family with his



65
     Senait Gebregiorgis, Lyman High School students receive yearbooks with added disclaimer after photo
            controversy delay, WESH2 (May 13, 2022), https://www.wesh.com/article/lyman-high-school-students-
            receive-yearbooks/39997205#.




                                                       -73-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 74 of 114




friends at school. Dan had to honestly answer that he wasn’t sure, but that was why

he was testifying against the bill.

      204. Days later, on Valentine’s Day 2022, while Brent VanTice was driving

their sons to school, the boys were discussing their excitement to pass out homemade

Valentines to their friends. Brent jokingly asked one of his sons if he was going to

say that his favorite Valentine was his Daddy. His son responded that he couldn’t

talk about his Daddy at school anymore because of H.B. 1557.

      205. The VanTices know that H.B. 1557 will impact their sons’ abilities to

fully participate in their school curriculum. For example, every year, the boys are

asked to bring in a picture of their family and to talk about their family with their

teacher and peers. This is part of the way that their children, like many young

children, build community at school—by talking and sharing stories about their

family. The VanTices anticipate that when their children have a similar assignment

next year, their children’s participation in such an assignment will be limited, since

as a result of H.B. 1557, their teacher will not be able to engage in classroom

discussion that expressly include LGBTQ families.

      206. Similarly, their sons have more than once been asked to bring their

favorite book into school, and, on multiple occasions, they have brought in Daddy,

Papa, and Me, a story about a toddler who happens to have gay parents. But this,

along with other of their favorite books such as Everywhere Babies, have already



                                        -74-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 75 of 114




been added to “banned books” lists as the result of H.B. 1557. The VanTices know

that if their children choose to bring these books to school in the future, they likely

will not be able to share them with their classmates.

      207. As a result of H.B. 1557, the VanTices sons’ participation in

assignments like these will be limited since their teacher will not be able to engage

with their family experience in the same way the teacher engages with the family

experiences of students with heterosexual-parent families.             Children with

heterosexual parents will continue to express themselves, bond with their peers, and

build community through their families, but the VanTices’ sons will be left out.

      208. The VanTices also fear that H.B. 1557 will prevent them from being

able to authentically present themselves when engaging in school activities, such as

visiting or presenting to their children’s class or attending school-wide events or

PTO meetings. Would speaking about their relationship and family, or even being

present as a couple, constitute “classroom instruction” by “third parties”? Like

everyone who reads the text of the statute, they do not know the answer to this

question.

      209. The VanTices have already experienced the way the law empowers and

emboldens others to discriminate against them. Since H.B. 1557 was enacted, the

VanTices have been stigmatized within their community, particularly from families




                                         -75-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 76 of 114




with straight parents, which has caused them to experience insomnia, anxiety, and

increased stress.

       210. Casares and Feinberg also have experienced adverse impacts on

themselves and their child as a result of the new law. Since the law was enacted,

their child has experienced an increase in the number of students at the child’s school

who are using the term “gay” as an insult.

       211. Casares and Feinberg are also already experiencing a great deal of

anxiety and concern for their child based on how H.B. 1557 will change the way

teachers treat their child and will be required to limit their child’s participation in

instructional activities. For example, at the beginning of each school year since

starting public school, their child has been asked to introduce their family to the

class, whether through a picture or a family tree. This year, their child was instructed

to do a project in which they were to write down two things they wanted their teacher

to know about them and two things they wanted their peers to know about them.

Their child shared with the teacher that they have two moms. Casares and Feinberg

believe that, as a result of H.B. 1557, their child will not be able to participate in this

and many other classroom activities with students who have heterosexual parents,

and that their child’s teacher will not be able to engage with (let alone comment on)

their child’s home and personal life. This will impede their child’s ability to form

meaningful and important relationships at school, let alone feel safe in their school



                                           -76-
     Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 77 of 114




environment, as Casares and Feinberg recognize that in elementary school, in order

for their child to have personal, warm connections with a teacher, it is important for

teachers to be able to discuss and demonstrate empathy for a child’s home life and

family. The necessity of planning about how to navigate this new legal reality for

their child is already causing them to experience severe anxiety and distress.

       212.    Since H.B. 1557 was signed into law, Casares and Feinberg have

already begun to feel increased ostracization from their child’s school personnel and

community. As a result, they have already experienced the way that the law is

impeding their ability to fully interact with their child’s teacher and school

community, as teachers, staff, and administrators are already altering their behavior

and refraining from communicating with them on the same terms as opposite-sex

parents. This will not only impact their involvement as classroom parents, but also

Feinberg’s role in the PTA. This will limit the effectiveness of their relationships

with school staff and administrators, as well as the parent community, and will

broadly undermine their ability to be included in regular class and school-wide

activism, as well as their ability to rely on the school and its community to care for

their child.

       213. Morrison and Houry also are already experiencing anxiety and distress

over the impact H.B. 1557 will have on their children. In the past, their children

have felt comfortable and accepted at school, but Morrison and Houry are aware that



                                        -77-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 78 of 114




H.B. 1557 has changed and will continue to change their children’s school

environment in a negative way. They are aware that teachers will no longer be able

to openly recognize and embrace their children’s family structure, and that their

children will be stigmatized at school and otherwise. For example, this year, when

Houry’s daughter made a Mother’s Day Card, she drew a picture of her two moms.

Houry is aware that her daughter’s teacher will have a reason not to respond as

positively or openly to her daughter sharing that she has two mothers as the teacher

does to students with different-sex parents lest the teacher be accused of providing

instruction about sexual orientation.

       214. They are also experiencing anxiety and distress because their children

will be made to feel that the differences in families are negative rather than positive,

and that their children will no longer feel as safe or supported in being open about

their family. They are concerned that because of the law, the curriculum for their

children will have to be changed, and children will no longer receive education on

the normalcy and value of differences, whether it be about families or any other

aspects of life. They know that these changes, which required the marginalization

of same-sex parent families, will harm their children by sending them a message that

their family is inferior.

       215. Moreover, Morrison and Houry fear that their role in the school

community could be curtailed by H.B. 1557. Morrison and Houry are open that they



                                         -78-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 79 of 114




are a lesbian couple. They worry that, as a result of the culture of fear created by

H.B. 1557, school personnel and other members of the school community will view

their openness and lived value of acceptance as divisive. Morrison and Houry

believe that they may no longer be included in school events, including career day

or other classroom activities, because of a fear that their presence will lead to

violations H.B. 1557 or make school community members uncomfortable. Further,

they believe that even if they are included in these events, they will be ostracized or

stigmatized for these same reasons. They worry about the impact this will have on

their children.

      C.     Harm to Teachers and Other School Personnel
      216. Many Plaintiffs have recognized the harm that H.B. 1557 is already

inflicting on teachers and on teachers’ ability to provide a welcoming and inclusive

environment that is safe for LGBTQ students.

      217. Berg has taught in elementary classrooms in California, Nevada, and

Florida for over 29 years. Currently, Berg is an elementary school art teacher, and

he will have to alter his curriculum as a result of H.B. 1557. For instance, in order

to complement the social studies units currently being taught in the early-elementary

school homerooms, Berg has his early elementary students draw their own families,

but he will not do this next year. Berg is worried that such a lesson will invite

scrutiny if students ask about Berg’s own family (which consists of two men) or




                                         -79-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 80 of 114




other students’ families, which may include LGBTQ individuals. Berg is also

concerned that students in his classroom who have LGBTQ parents will not feel safe

or comfortable drawing their own families as a result of H.B. 1557.

      218. Berg also recognizes that a fundamental goal of early elementary

education is to teach children empathy and how to socialize and interact with others

in a respectful and safe manner. Berg feels that if he cannot address certain topics—

such as a student noting that they have two moms in class or that families may look

different—he will be unable to foster the inclusive environment necessary to best

instruct young children. As a result, he will be less effective as a teacher.

      219. To be clear, Berg is worried about far more than censorship. He is

concerned that, in the environment created by H.B. 1557, if he even acknowledges

his own identity as a gay male with a husband, he will be called a “pedophile” or a

“groomer.” This is not only scary and offensive, but particularly heartbreaking for

Berg because at an early age, he was taught to hate himself for being gay. He has

spent decades of his life (through the support of professionals) dealing with his own

internalized homophobia, and that wisdom about self-acceptance is something he

attempts to pass on to his students, whether straight or gay. Berg feels that H.B.

1557 has stifled his ability to teach other children to accept themselves and others,

and to prevent the damage that was done to Berg at a young age.




                                         -80-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 81 of 114




      220. In fact, just recently in Berg’s classroom, a student told another student

that their artwork was “so gay.” Berg was deeply offended, and afraid other students

might be offended, but felt that he could not address the student or say anything at

all because he was worried H.B. 1557 limited his ability to explain either the

problematic usage of that phrase or how such a homophobic slur impacted him

personally.

      221. Notably, Berg teaches in a bilingual school, and he is a unique asset to

the school as a native English speaker who also speaks Spanish fluently. Recently,

a little girl in Berg’s classroom who has difficulty speaking English, but also refused

to speak Spanish, heard Berg speaking in Spanish. Immediately the little girl’s face

lit up. She suddenly had pride and self-acceptance, and even noted that “it was cool

to speak two languages.” Berg wishes that he could make students who identify as

LGBTQ or who have LGBTQ parents feel that same level of acceptance, but Berg

feels that he will not be able to do that since he will not be able to discuss that aspect

of his or his students’ identities because of H.B. 1557.

      222. Washington, a middle school civics and drama teacher, has already

changed aspects of her instruction to align with H.B. 1557. For example, every year,

Washington’s drama students compete in the Florida State Thespians competition.

Until now, Washington has permitted transgender students to choose a song to




                                          -81-
        Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 82 of 114




perform based on the student’s gender identity.                          As a result of H.B. 1557,

Washington will no longer do so.

           223. Washington also plans to remove certain books from her classroom that

touch on issues related to the LGBTQ community. For example, she currently has

books such as George, Fun Home, All Boys Aren’t Blue, and Drama in her classroom

library, which she uses as part of her civics curriculum to teach about “banned

books” in connection with the Supreme Court’s Board of Education v. Pico decision.

Washington will change how she discusses this case in her classroom to avoid

violating H.B. 1557.

           224. Other teachers are making similar changes to avoid discussion that

includes LGBTQ families, people, or issues. A third-grade teacher in Volusia

County recently explained that because of the possibility of lawsuits she will be

“walking on eggshells” next year, and worries that she will have to take steps to

“police kids’ expression” during share time if they share a detail about their lives

such as “my two uncles got married over the weekend.” 66                   65F




           225. Ultimately, given the vagueness of H.B. 1557’s proscriptions on

“classroom instruction on sexual orientation or gender identity,” which can be

enforced through a suit by any parent, Washington is aware that any mention of


66
     Kelly Field, Under New Laws, Some Teachers Worry Supporting LGBTQ Students Will Get Them Sued or Fired,
           USA TODAY (May 23, 2022), https://www.usatoday.com/story/news/nation/2022/05/23/lgbtq-civil-rights-
           laws-worry-some-teachers-who-fear-punishment/9859737002/?gnt-cfr=1.




                                                      -82-
         Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 83 of 114




LGBTQ identity or people could be turned against her. She has been forced by the

law to change how she teaches and is already experiencing a constant fear of losing

her job if she slips up and says something about LGBTQ people or issues, which

would be emotionally devastating, in addition to a financial hardship.

           226. Other teachers have already been penalized for doing so, even though

H.B. 1557 has not yet gone into effect. For example, in Cape Coral, after the bill

was signed into law, a first-year middle school art teacher was fired after her students

drew LGBTQ flags during their free time in her class. 67 Another teacher was       66F




reported by a parent for wearing a “Protect Trans Kids” T-shirt on National

Transgender Day of Visibility, and Defendant Byrd praised the parent in a Facebook

post for reporting “[u]nacceptable teacher attire.” 68                 67F




           227. Berg is very nervous about his ability to protect LGBTQ students in his

classroom after the passage of H.B. 1557. Berg currently has one student who is

being bullied and taunted because of their gender identity. Although Berg has

discussed this bullying with the student’s homeroom teacher, both teachers are

petrified to address it directly because of H.B. 1557.




67
     Dave Elias, Cape Coral art teacher fired for discussing lgbtq topics, NBC-2 (May 6, 2022), https://nbc-
           2.com/news/local/2022/05/03/cape-coral-art-teacher-fired-for-discussing-lgbtq-topics/.
68
     Emily Bloch (@emdrums), TWITTER (Apr. 1, 2022, 9:09 A.M.),
           https://twitter.com/emdrums/status/1509880610143322112 (tweeting image of Def. Byrd’s Facebook post).




                                                         -83-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 84 of 114




      228. Washington is deeply concerned about the negative impact H.B. 1557

will have on her LGBTQ students and students with LGBTQ families, who will no

longer be recognized or supported in the same way as other students.

      229. As a middle-school teacher, Washington is deeply aware of the impact

that these developments will have on students’ mental health, as well as the ability

of the other students to learn about tolerance and how to become effective members

of a diverse society. Washington is concerned that H.B. 1557 will limit her

effectiveness in the classroom to the detriment of her students’ education by

preventing her from including discussions of LTBTQ identity and issues on equal

footing or from interacting on equal terms with LGBTQ students. Already, she has

had students who have come to her because they have been harmed by the new law

because it has emboldened those who do not support LGBTQ students. Since H.B.

1557 was passed, in scenes reminiscent of The Scarlet Letter by Nathaniel

Hawthorne, two of Washington’s students were “outed” by their peers and their

peers’ parents, who created a “phone chain” to further “out” the students to the wider

parent community. The students both came to Washington in tears because they had

been outed and feared the consequences they might face at home. One of the girls

was afraid she would be kicked out of her home because her mother had previously

said that if she ever found out that her daughter was gay, she would be kicked out of

her house. In another example of the far-reaching (and absurd) effect of H.B. 1557,



                                        -84-
       Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 85 of 114




a teacher at Washington’s school recently pointed at each student as they entered his

classroom and identified them as either “girl” or “boy” based on their sex assigned

at birth.

        230. Washington’s students rely on her to provide them with support, in her

role as both a teacher and GSA advisor. Washington is afraid that H.B. 1557 will

prevent her from being able to fill the critical role as a supportive adult in these

students’ lives. Recently, Washington was asked by the parents of a transgender

student in upper elementary school whether the student could join Washington’s

middle-school GSA because she lacked the support she needed in her elementary

school. Washington initially agreed to the request but, given H.B. 1557, must

reconsider whether agreeing to these parents’ request could actually endanger her

job.

        231. H.B. 1557 also restricts Berg’s ability to be open about his gay identity

in the classroom to the same extent and in the same ordinary ways that heterosexual

teachers are open about their heterosexual identity. As noted above, Berg does not

put a picture of his husband on his desk, despite the fact that numerous other teachers

have pictures of their spouses on their desks. Berg is concerned that even a simple

photograph could be perceived as “grooming” his students or result in criticism or

complaints from parents. Indeed, when Berg recently went on a vacation with his




                                         -85-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 86 of 114




husband, Berg told his students upon his return that he had gone on a trip with his

“friend” because he was afraid of inviting unwanted scrutiny and adverse treatment.

       232. Washington has many signs and posters in her classroom, including

those supporting LGBTQ students. She is aware that if she keeps these signs up next

year, she will be putting her job at risk and face ostracization from her colleagues,

which could further limit her effectiveness as a teacher and leader in the school

community. In fact, Washington already faced questioning by her colleagues for

using a district-provided lanyard that had an LGBTQ-ally flag on it.

       233. Another middle-school teacher and GSA teacher-advisor was recently

given a formal directive by his school that he not use references to sexual orientation

or gender identity with his students. This occurred after the school received a

complaint from a parent that the teacher had wished students “Happy Lesbian

Awareness Day” when students arrived at school, as well as a complaint from

another teacher after he shared, at the student’s request, a student’s desire to be called

by a name associated with a different sex. Worried for his job security, the teacher

rushed to find a position at another school in the district for the upcoming school

year even though he will now be teaching a different subject and will have to undergo

recertification.

       234. Other teachers have been harassed for speaking out against H.B. 1557.

For example, a principal and teacher in Tallahassee faced harassment from parents,



                                          -86-
         Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 87 of 114




including at a local school board meeting, in response to statements made on their

private Facebook posts where they were critical of H.B. 1557. 69 Another teacher           68F




has been called numerous names, including “a groomer, a pedophile, [and] an

indoctrinator.” 70     69F




           235. One gay kindergarten teacher, who has been teaching in Florida’s

schools for six years, is concerned that he could lose his job just by answering his

student’s questions about who he is married to. When he spoke publicly against

H.B. 1557, he was harassed relentlessly on social media, called a “groomer,” and

calls and emails were made to his superintendent demanding his termination. 71                                70F




           236. Since H.B. 1557 was introduced and enacted, LGBTQ teachers have

also reported being targeted. Another teacher, who has been teaching history to

middle- and high-school students in Live Oak, Florida for 17 years, reported that

everyone in her school knows she is gay but she does not talk about it at school and

it has not been an issue. She no longer feels that way. Instead, she feels “targeted”

and that any interaction she has with students might put her job at risk. As just one


69
     Lynn Hatter, A Tallahassee principal and teacher face calls to resign over Facebook posts, but the First
          Amendment likely protects them, WFSU (May 17, 2022), https://news.wfsu.org/wfsu-local-news/2022-05-
          17/a-tallahassee-principal-and-teacher-face-calls-to-resign-over-facebook-posts-but-the-first-amendment-
          likely-protects-them.
70
     Andrew Atterbury, Florida’s fight over ‘Don't Say Gay’ is getting more heated. And it hasn’t even gone into effect
          yet, POLITICO (May 17, 2022), https://www.politico.com/news/2022/05/17/florida-fight-dont-say-gay-
          00032512.
71
     Cory Bernaert, I’m a gay kindergarten teacher in Florida. These are the questions I’m asking myself., NBC NEWS
           (Apr. 29, 2022), https://www.nbcnews.com/think/opinion/teach-kindergarten-florida-now-called-
           groomerrcna26625?cid=sm_npd_nn_fb_ma&fbclid=IwAR1vL3CpWFa0uwnCd3nr0ppSY2cd2d30qh8WU
           iRob6-TRRp2JjU2lznc1mM.




                                                          -87-
           Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 88 of 114




example, she fears that if a student comes out to her in front of the class, as has

happened before, she could be fired. 72 And as another teacher explained, the attacks
                                                   71F




feel personal and “like an intent to erase an entire population of people, as if they

don’t exist.” 73   72F




            237. Following the enactment of H.B. 1557, some educators in Florida have

already decided to quit the profession or leave the state to teach elsewhere. In March,

a group of parents in Orlando called for disciplinary action against a sixth-grade

science teacher for allegedly acknowledging his marriage to a man at school (even

though the teacher denies such a discussion). This incident prompted his decision

to stop teaching in Florida and pursue a career in real-estate instead. 74                    73F




            238. Another fourth-grade teacher in Miami-Dade County, who had been

teaching for more than four years, quit. The teacher, a lesbian, worried that the law

would erase her identity as an LGBTQ teacher and put her “in the closet.” 75                          74F




            239. Equality Florida’s membership includes teachers in Florida public

schools, including Washington. Many of these teachers have reached out to Equality


72
     Jay Michaelson, The Don’t Say Gay Bill Is Worse Than It Sounds, NEW YORK MAGAZINE (Mar. 24, 2022),
           https://nymag.com/intelligencer/2022/03/florida-dont-say-gay-bill-is-even-worse-than-it-
           sounds.html?regwall-newsletter-signup=true.
73
     Kelly Field, Under New Laws, Some Teachers Worry Supporting LGBTQ Students Will Get Them Sued or Fired,
           USA TODAY (May 23, 2022), https://www.usatoday.com/story/news/nation/2022/05/23/lgbtq-civil-rights-
           laws-worry-some-teachers-who-fear-punishment/9859737002/?gnt-cfr=1.
74
     Matt Lavietes, 'I cannot teach in Florida: LGBTQ educators fear fallout from new school law, NBC NEWS (Apr.
           1, 2022), https://www.nbcnews.com/nbc-out/out-politics-and-policy/-cannot-teach-florida-lgbtq-educators-
           fear-fallout-new-school-law-rcna22106.
75
     Id.




                                                         -88-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 89 of 114




Florida since H.B. 1557 has been signed into law to ask for guidance as to how they

should be responding to the law, and how it affects what they can do or say in a

school environment or in the classroom. Some of these teachers have LGBTQ

students they would like to support, including through service as teacher-advisors

for GSAs or other student clubs—and also by protecting these LGBTQ students from

bullying and harassment (which requires discussing LGBTQ identities and issues

with students). But these teachers feel they must refrain from doing so because they

are concerned about violating H.B. 1557 and being disciplined or fired. Some

teachers have reported that they avoid engaging LGBTQ students all

together because they fear what might happen as a result. Those that do engage have

already faced consequences; for instance, one teacher who affirmed an LGBTQ

student by informing the class that bullying about sexual orientation or gender

identity is unacceptable is being harassed online by parents.

      240. Equality Florida’s membership also includes LGBTQ teachers who are

afraid to identify themselves as LGBTQ or discuss LGBTQ issues because they are

concerned about violating H.B. 1557. Some LGBTQ teachers reasonably fear that

acknowledging the existence of a same-sex or transgender partner or spouse to

students would be considered a violation of H.B. 1557 and could result in discipline.

      241. Finally, Equality Florida’s membership includes other school

personnel, including school counselors, in Florida public schools. Counselors have



                                        -89-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 90 of 114




reported that they are afraid to talk with LGBTQ youth because they are concerned

that they will lose their licensure or will be sued in a personal capacity simply for

trying to hear from an LGBTQ student what their needs are. This fear has created

an immense barrier in counselors’ ability to do their jobs and provide students with

access to necessary mental health services.

      D.     Harm to Organizational Plaintiffs
      242. Equality Florida, and Family Equality’s members are experiencing

harm as a result of H.B. 1557, as set forth above.

      243. The organizations themselves are also suffering injury to their mission

and by virtue of the need to divert resources to combat an unjust law.

      244. Equality Florida has been on the frontlines in educating the public about

the dangers of and fighting against the passage of H.B. 1557 to protect its LGBTQ

members. In doing so, the organization has already diverted significant financial

and staff resources.

      245. Equality Florida diverted funds received in connection with a grant

from the Movement Voter Project to H.B. 1557. This grant was originally provided

to Equality Florida without regard to H.B. 1557, and Equality Florida had planned

to use these funds for recruitment purposes, but instead was forced to divert these

funds to oppose H.B. 1557.




                                        -90-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 91 of 114




      246. Equality Florida has raised and expended substantial financial

resources in its fight against the passage and implementation of H.B. 1557,

amounting to over $250,000. These funds were spent on social media and television

ads, staff travel to the legislature, and expenses relating to constituent lobbying days,

among other things.

      247. Equality Florida diverted money away from existing education and

lobbying efforts by leveraging its relationship with national partners to recruit

additional funds directly for H.B. 1557, which are funds that would have been

diverted to public education and lobbying for other bills and/or issues.

      248. Equality Florida’s Public Policy Department shifted time and energy

away from other programs, including time that would have been spent lobbying for

other bills and supporting other policy efforts, to focus on fighting H.B. 1557. For

example, Equality Florida’s Senior Political Director spent three weeks focused

solely on H.B. 1557 at the expense of other projects. And Equality Florida used

funds to provide for him and other staff members to travel to and stay in Tallahassee

so they could lobby against the bill. Equality Florida also increased its staffing to

assist with efforts related to H.B. 1557. As a result of H.B. 1557, the part-time Public

Policy Fellow who came on prior to legislative session had their weekly hours

increased during the legislative session and subsequently was elevated to a newly




                                          -91-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 92 of 114




created, full-time salaried position with benefits, the Public Policy Associate, to

assist with efforts related to H.B. 1557.

      249. Equality Florida’s Field Department also diverted significant time and

resources away from their key programs, including Get Out the Vote and Persuasion

programs, to coordinate the campaign against H.B. 1557. This included shifting

staff and volunteer resources away from mid-term campaigns in municipalities,

including for example Boynton Beach, and putting on hold standard programming,

such as candidate and election tracking for mid-term elections. The Department was

unable to hold general intern and volunteer recruitment programs and trainings, and

volunteer wellness-support programs; as a result, the volunteer program lost

participants and resources. Instead, the Department focused on organizing Days of

Action, phone banking, and regional rallies and facilitating advocates from the

Equality Florida network to travel to Tallahassee for the legislative session and lobby

against H.B. 1557. The Department also lost a full-time staff member as a result of

the bill and was forced to hire and train someone new to join the team.

      250. Equality Florida also made a strategic decision to shift staff and

resources away from Pride events, including those attended in the past, in order to

focus on fighting against H.B. 1557. In doing so, Equality Florida sacrificed

membership and volunteer recruitment opportunities, as well as the opportunity to

strengthen its membership base.



                                            -92-
        Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 93 of 114




           251. Equality Florida’s educational mission is also directly implicated by

H.B. 1557. Equality Florida administers a Safe and Healthy Schools Project, which

aims to create a culture of inclusion while countering the bullying, harassment, social

isolation, and bigotry that are risk factors for LGBTQ students. This project offers

free resources to educators, students, parents, and supporters. It is the only statewide

LGBTQ initiative focused on providing support and guidance to school districts.

           252. As part of its Safe and Healthy Schools Project, Equality Florida has

compiled materials for educators in Florida outlining policies and steps schools can

take to ensure LGBTQ students are adequately supported. It also hosts the “All

Together Now” conference, which one District Superintendent described as “about

recognizing that we must move beyond the culture of indifference when it comes to

securing LGBTQ safe learning environments. Policies and lip service get you

nowhere without action.” 76        75F




           253. Already, Equality Florida has noticed many respects in which its efforts

have been impacted by H.B. 1557. Equality Florida has learned that in anticipation

of the law being enacted and going into effect, school districts with LGBTQ support

guides have removed and/or begun to revise these guides. As a result, the guides

have been significantly shortened or eliminated altogether, and key protections for



76
     Equality Florida, Florida School District LGBTQ+ All Together Now Conference, YOUTUBE (July 27, 2018),
           https://www.youtube.com/watch?v=FTlMuJv2xko&t=84s.




                                                      -93-
        Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 94 of 114




LGBTQ students have been removed.                                    For example, in Duval County, a

comprehensive, stand-alone 37-page LGBTQ Support Guide was eliminated, and

replaced with significantly limited guidance and protections for LGBTQ students

that are incorporated into a larger student support manual that references all student

support services. 77 The “Equity, Diversion, and Inclusion Policy” in Manatee
                          76F




County, where M.A. is a student, has been taken off of the school district’s website

and is being revised, and the “Guidelines for LGBTQ Students-Follow Best

Practices” in St. Johns County, where the VanTices’ sons are in school have already

been revised. Moreover, the Sarasota County Schools’ “Creating Safe Schools for

All Students: Gender Diverse Student Guidelines” were updated on March 25, 2022,

to remove references to elementary students. 78                77F




           254. Further, there is now a paralysis among school district leadership,

which has become hesitant to engage in Equality Florida programming. Indeed,

multiple school employees who had previously agreed to speak on panels for




77
     Claire Heddles, What Duval Schools is cutting from its LGBTQ+ Support Guide, JAXTDY, (May 17, 2022),
            https://jaxtoday.org/2022/05/17/what-duval-schools-is-cutting-from-its-lgbtq-support-guide/; Travis
            Gibson, Duval County School Board reworks LGBTQ+ support guide, may notify parents of name change,
            NEWS4JAX (May 17, 2022), https://www.news4jax.com/news/local/2022/05/17/duval-county-school-
            board-holds-workshop-to-rework-lgbtq-support-guide/.
78
     Compare Sarasota County Schools, Creating Safe Schools for All Students: Gender Diverse Student Outlines, at 2
          (March 25, 2022),
          https://www.sarasotacountyschools.net/cms/lib/FL50000189/Centricity/Domain/1174/revised%20Gender%
          20Diverse%20Guidelines%20FINAL_10232018.pdf with Sarasota County Schools, Creating Safe Schools
          for All Students: Gender Diverse Student Outlines, at 2 (Oct. 2018),
          https://web.archive.org/web/20220209143944/https:/www.sarasotacountyschools.net/cms/lib/FL50000189/
          Centricity/Domain/1167/SCSBGenderDiverseGuidelinesFINAL_10232018.pdf.




                                                        -94-
        Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 95 of 114




Equality Florida have had to cancel after school leadership made it clear that they

could not participate in a conference organized by Equality Florida.                                  School

members have expressed fears as to whether GSAs will be able to remain in

existence, and some schools have prevented GSAs from forming in the first place.

           255. Thus, the enactment of H.B. 1557 significantly changes what, if

anything, Equality Florida can do in schools across the state.

           256. Family Equality’s mission is also directly impacted by H.B. 1557, as

the law materially changes what, if anything, Family Equality can provide to Florida

schools to fight discrimination against LGBTQ families and youth and to LGBTQ

parents and their children to help them successfully navigate being a LGBTQ family

in K-12 schools. For example, Family Equality has a “Book Nook,” which provides

a comprehensive list of the best LGBTQ books for children of all ages, including

pre-K through third grade. 79 Family Equality fears that many of these books will
                                     78F




not be permitted in schools when H.B. 1557 is in effect. Family Equality also has

resources that it has created and provides to LGBTQ parents to help them and their

families navigate the K-12 education system, including a toolkit and guidance on

how parents can help create LGBTQ-friendly classrooms, advice for parents from

other parents about how to foster LGBTQ-friendly schools, and guidelines for how



79
     LGBTQ+ Books for Parents and Children, FAMILY EQUALITY, https://www.familyequality.org/family-
         support/lgbtq-books/ (last visited May 23, 2022).




                                                     -95-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 96 of 114




to identify an LGBTQ-friendly school, among other resources. Given the passage

of H.B. 1557, these resources will largely be inapplicable for Florida public schools.

      257. As a result of its recent strategic plans and the passage of H.B. 1557,

Family Equality has been and will continue to be shifting resources away from

nationwide work toward work focused on Florida and other states that are

considering laws similar to H.B. 1557. Family Equality is also going to now focus

more time and effort on supporting families in Florida, particularly with respect to

how to navigate the impact of H.B. 1557.

      258. Family Equality has diverted and will have to divert many financial

resources to address the impact of H.B. 1557 in Florida and beyond. Already,

Family Equality has diverted resources away from other campaigns and projects

nationwide to focus on fighting the law’s impact. Family Equality has disseminated

multiple “Action Alerts” to inform individuals on their mailing list about the impact

of the H.B. 1557 and leadership has spent time and resources promoting its potential

impact via op-eds, lobbying, and social media. Once H.B. 1557 is in effect, Family

Equality will have to allocate resources to develop specific resources for Florida

families as to how the law might impact them and what they can do to try to ensure

that their families are as safe and supported as possible.

      259. Family Equality’s staff resources also have been and will be diverted.

The policy team’s resources have been shifted away from its other workstreams,



                                         -96-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 97 of 114




including its Family Equity and Justice Project, fighting anti-LGBTQ bills in other

states, and the development of its “paths to parenthood” resource, to focus on H.B.

1557. And Family Equality’s former Chief Policy Officer, who serves as Of Counsel

to Family Equality, traveled to Tallahassee specifically to testify against the bill.

Since the bill’s passage, Family Equality has restructured its Policy Department and

will be adding an attorney position focused primarily on schools, partly in response

to making sure there are adequate staff resources to work on the impact of H.B. 1557;

this individual will spend part of their time responding to H.B. 1557 specifically.

      260. Family Equality’s communication team’s resources have also been and

continue to be diverted away from other projects and campaigns to focus on urgent

communications related to H.B. 1557. The communications team diverted time and

bandwidth away from development and fundraising work, deliverables for the

annual gala, and strategic brainstorming for a virtual fundraising and public

awareness campaign, in order to focus on campaigns related to H.B. 1557. The team

was also not able to disseminate time-sensitive digital campaigns for LGBTQ

Families Day and National Foster Care Month because of time constraints related to

the H.B. 1557 efforts. This impacted programming as well because press for events

was limited. The Department of Family Engagement, Programs, and Data has also

shifted resources. For example, once hired, the Chief Family Engagement and

Programs officer will prioritize that department’s focus directly on family



                                        -97-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 98 of 114




engagement and programmatic priorities to support LGBTQ parents and their

school-age children with an emphasis on Florida. Their team will work alongside

the policy team to figure out what resources need to be developed to assist LGBTQ

parents in Florida who are impacted by this new law.

                              CAUSES OF ACTION
                                      COUNT I

            Due Process Clause of the Fourteenth Amendment
               to the United States Constitution: Vagueness
(Brought pursuant to 42 U.S.C. § 1983 by all Plaintiffs against all Defendants)
      261. Plaintiffs reallege and incorporate by reference the preceding

allegations as though fully set forth herein.

      262. A law is “void for vagueness if its prohibitions are not clearly defined.”

Grayned v. City of Rockford, 408 U.S. 104, 108 (1972). These requirements have

particular weight when the law threatens to impinge on First Amendment rights. See

Smith v. Goguen, 415 U.S. 566, 573 (1974).

      263. H.B. 1557 is void for vagueness and thereby violates Plaintiff’s

Fourteenth Amendment rights facially and as applied by Defendants.

      264. As to Plaintiffs M.A., Moricz, S.S., Doe, and Equality Florida, H.B.

1557 fails to provide a person of ordinary intelligence a reasonable opportunity and

fair notice to understand what students can and cannot say and do while participating

in “classroom instruction” (a term that is itself vague), and because it invites

arbitrary and discriminatory enforcement.


                                         -98-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 99 of 114




      265. Similarly, as to Plaintiffs McClelland, Dan and Brent VanTice, Casares

and Feinberg, Morrison and Houry, Shook, Volmer, and Equality Florida, H.B. 1557

fails to provide a person of ordinary intelligence a reasonable opportunity and fair

notice to understand what parents can and cannot say and do in the course of

“classroom instruction” (a term that is itself vague), and because it invites arbitrary

and discriminatory enforcement.

      266. As to Plaintiffs Berg, Washington, and Equality Florida, H.B. 1557

fails to provide a person of ordinary intelligence a reasonable opportunity and fair

notice to understand what teachers can and cannot say and do during “classroom

instruction” (a term that is itself vague), and because it invites arbitrary and

discriminatory enforcement.

      267. As to Plaintiffs Equality Florida and Family Equality, H.B. 1557 fails

to provide a person of ordinary intelligence a reasonable opportunity and fair notice

to understand what the law permits and prohibits, and because it invites arbitrary and

discriminatory enforcement.

      268. H.B. 1557 prohibits “[c]lassroom instruction” by “third parties” on

“sexual orientation” and “gender identity” in K-3, and otherwise in any context

where it is not “age-appropriate” and “developmentally appropriate” in accordance

with unspecified “state standards” that may go into effect long after the law does.

These key terms are all ambiguous and undefined. The vagueness of these terms has



                                         -99-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 100 of 114




a chilling effect on the behavior and speech of students, including Plaintiffs M.A.,

S.S., Doe, and Equality Florida because they are unable to determine what the law

does and does not prohibit; they are uncertain about what they are legally able to say

and do in class; and they hesitate to speak or participate in class out of fear of

violating the law and facing discipline from their school.

      269. The law also has a chilling effect on the behavior and speech of parents,

including Plaintiffs McClelland, Dan and Brent VanTice, Casares and Feinberg,

Morrison and Houry, Shook, Volmer, and Equality Florida because they are likewise

unable to determine what the law does and does not prohibit, and they are uncertain

about what they are legally able to say and do in the classroom or school.

      270. The vagueness and ambiguity of the law also have a chilling effect on

the behavior and speech of LGBTQ teachers, including Plaintiffs Berg, Washington,

and Equality Florida, because they are likewise unable to determine what the law

does and does not prohibit, and they are uncertain about what they are legally able

to say and do while teaching in school, for fear of violating the law.

      271. As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs have suffered and will continue to suffer irreparable injury, including

violations of their rights under the Fourteenth Amendment to due process.

      272. As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs have suffered damages to be determined according to proof at trial.



                                        -100-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 101 of 114




                                     COUNT II

         Equal Protection Clause of the Fourteenth Amendment
             to the United States Constitution: Discrimination
(Brought pursuant to 42 U.S.C. § 1983 by Plaintiffs M.A., Moricz, S.S., Doe,
Dan and Brent VanTice, Casares, Feinberg, Morrison, Houry, Berg, Equality
           Florida, and Family Equality against all Defendants)
      273. Plaintiffs reallege and incorporate by reference the preceding

allegations as though fully set forth herein.

      274. The Equal Protection Clause of the Fourteenth Amendment to the

United States Constitution provides: “No State shall … deny to any person within

its jurisdiction the equal protection of the laws.” U.S. CONST. amend. XIV, § 1.

      275. Defendants have deprived Plaintiffs of the rights, privileges, or

immunities secured by the Equal Protection Clause because Defendants, without

sufficient justification, have treated Plaintiffs differently from other similarly

situated persons based on their sex, sexual orientation, gender, gender identity, and

transgender status.

      276. H.B. 1557 was enacted with an invidiously discriminatory purpose and

results in discriminatory and disparate effects, and thus violates the Fourteenth

Amendment rights of Plaintiffs facially and as applied by Defendants.

      277. Comments by the legislative sponsors of the Act, other legislators, and

Governor DeSantis all confirm that H.B. 1557 was enacted, at least in part, with the

unlawful purpose to discriminate against LGBTQ people. The public record reflects




                                         -101-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 102 of 114




a purpose to target, demean, belittle, and harass LGBTQ individuals and families,

with the intent and effect of depriving them of full advantage of the academic and

extracurricular opportunities provided by the school environment. It also reflects an

effort to impose state-selected (but demonstrably outmoded and offensive) gender

stereotypes as the dominant ideology and controlling rule of public education in

Florida—a form of improper sex stereotyping prohibited by the Constitution.

      278. In addition, H.B. 1557 is simply the latest in a long line of anti-LGBTQ

laws that the Florida legislature and Governor have passed or attempted to pass in

recent memory, further illustrating and confirming its invidiously discriminatory

purpose. H.B. 1557 also follows in the footsteps of decades of “No Promo Homo”

and “Don’t Say Gay” laws and has the same aim, which it achieves by imposing

vague and broad proscriptions that invite—and indeed are already causing—

discriminatory enforcement only against discussions of LGBTQ persons and issues.

      279. Although the law has not yet taken effect, Plaintiffs have already

suffered injury and ostracization from passage of the law, and from the imprimatur

of discrimination by Defendants. And the law is substantially likely to encompass

further material, educational, and other injuries to Plaintiffs in their school and

personal lives.

      280. For example, H.B. 1557 has already stigmatized and singled out

LGBTQ students such as Plaintiffs M.A., Moricz, S.S., Doe, and Equality Florida as



                                       -102-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 103 of 114




inferior and unequal in public school settings; encouraged teachers and other

students to view LGBTQ students as different and inferior and effectively condoned

bullying and harassment by others; interfered with the healthy development and

socialization of LGBTQ students; and harmed their health and well-being.

      281. H.B. 1557 disparately harms LGBTQ students such as Plaintiffs M.A.,

Moricz, S.S., Doe, and Equality Florida and denies such students equal educational

opportunities based on their LGBTQ orientation or identity.

      282. H.B. 1557 also disparately harms LGBTQ teachers, such as Berg and

Equality Florida, and LGBTQ parents including Plaintiffs Dan and Brent VanTice,

Casares, Feinberg, Morrison, and Houry based on their LGBTQ orientation or

identity.

      283. In addition, as to Plaintiffs Dan and Brent VanTice, Casares and

Feinberg, Morrison and Houry, and LGBTQ parent members of Equality Florida,

H.B. 1557 violates the equal protection right to marry on the “same terms and

conditions as opposite-sex couples.” Obergefell, 576 U.S. at 676; see also id. at 667

(“A third basis for protecting the right to marry is that it safeguards children and

families and thus draws meaning from related rights of childrearing, procreation, and

education.”); Pavan v. Smith, 137 S. Ct. 2075, 2078 (2017). The purpose and effect

of H.B. 1557 is that LGBTQ married couples will be treated differently and worse

than non-LGBTQ married couples in important aspects of their interactions with



                                       -103-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 104 of 114




Florida’s public schools, and that the children of LGBTQ married couples will

similarly suffer discrimination and disadvantage in Florida’s public schools as

compared to all other children.

      284. As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs M.A., Moricz, S.S., Doe, Dan and Brent VanTice, Casares, Feinberg,

Morrison, Houry, Berg, Equality Florida, and Family Equality have already suffered

and will continue to suffer irreparable injury, including violations of their Fourteenth

Amendment rights to equal protection of the laws.

      285. As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs M.A., Moricz, S.S., Doe, Dan and Brent VanTice, Casares, Feinberg,

Morrison, Houry, Equality Florida, and Family Equality have suffered damages to

be determined according to proof at trial.

                                     COUNT III
            First Amendment to the United States Constitution:
                       Right to Receive Information
 (Brought pursuant to 42 U.S.C. § 1983 by Plaintiffs M.A., Moricz, S.S., Doe,
       Equality Florida, and Family Equality against all Defendants)

      286. Plaintiffs reallege and incorporate by reference the preceding

allegations as though fully set forth herein.

      287. The First Amendment to the United States Constitution provides:

“Congress shall make no law … abridging the freedom of speech.” U.S. CONST.,




                                         -104-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 105 of 114




amend. I. The First Amendment applies to the state of Florida pursuant to the

incorporation doctrine of the Fourteenth Amendment.

      288. The First Amendment protects “the right to receive information and

ideas.” Pico, 457 U.S. at 867. Laws regarding school curricula and instruction

violate students’ First Amendment rights to receive information and ideas where

they are not “reasonably related to legitimate pedagogical concerns,” Hazelwood

Sch. Dist. v. Kuhlmeier, 484 U.S. 260, 273 (1988), or where officials exercise their

discretion over curricular decisions “in a narrowly partisan or political manner,”

Pico, 457 U.S. at 870.

      289. H.B. 1557 violates the First Amendment right to receive information

and ideas of Plaintiffs M.A., Moricz, S.S., Doe, and Equality Florida facially and as

applied by Defendants. More specifically, the law violates their right to receive and

debate information and ideas concerning sexual orientation and gender identity, even

when such information serves essential pedagogical purposes.

      290. H.B. 1557’s restrictions on students’ rights to receive information and

ideas concerning sexual orientation and gender identity are unrelated to legitimate

pedagogical concerns, and serve no other legitimate state purpose. Instead, H.B.

1557 is rooted in animus against LGBTQ individuals, as demonstrated by the public

record. H.B. 1557 is also the result of partisan or political decision-making.




                                        -105-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 106 of 114




      291. As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs M.A., Moricz, S.S., Doe, Equality Florida, and Family Equality have

suffered and will continue to suffer irreparable injury, including violations of their

First Amendment rights to receive information and ideas.

      292. As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs M.A., Moricz, S.S., Doe, Equality Florida, and Family Equality have

suffered damages to be determined according to proof at trial.

                                     COUNT IV

            First Amendment to the United States Constitution:
                      Right to Freedom of Expression
 (Brought pursuant to 42 U.S.C. § 1983 by Plaintiffs M.A., Moricz, S.S., Doe,
       Equality Florida, and Family Equality against all Defendants)
      293. Plaintiffs reallege and incorporate by reference the preceding

allegations as though fully set forth herein.

      294. “[S]tudents do not ‘shed their constitutional rights of freedom to speech

or expression,’ even ‘at the school house gate.’” Mahanoy, 141 S. Ct. at 2044

(quoting Tinker, 393 U.S. at 506). Thus, student speech is presumptively protected

unless it “materially disrupts classwork or involves substantial disorder or invasion

of the rights of others.” Id. at 2045 (quoting Tinker, 393 U.S. at 513).

      295. Likewise, laws regulating students’ speech violate their First

Amendment rights where such laws are not “reasonably related to legitimate

pedagogical concerns.” Kuhlmeier, 484 U.S at 273.



                                         -106-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 107 of 114




       296. H.B. 1557 violates the First Amendment right to freedom of expression

of students, including Plaintiffs M.A., Moricz, S.S., Doe, and Equality Florida

facially and as applied by Defendants. More specifically, the law restricts Plaintiffs’

ability to discuss topics related to sexual orientation and gender identity in class and

related settings, and even restricts their ability to self-identify.

       297. H.B. 1557’s restrictions on students’ rights to free expression

concerning sexual orientation and gender identity are not justified by preventing

disruption to the school environment, are unrelated to legitimate pedagogical

concerns, and serve no other legitimate state purposes. Instead, the law is rooted in

animus against LGBTQ individuals, as demonstrated by the public record.

       298. As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs M.A., Moricz, S.S., Doe, Equality Florida, and Family Equality have

suffered and will continue to suffer irreparable injury, including violations of their

First Amendment right to freedom of expression.

       299. As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs M.A., Moricz, S.S., Doe, Equality Florida, and Family Equality have

suffered damages to be determined according to proof at trial.

                                       COUNT V

               First Amendment to the United States Constitution:
                                Overbreadth




                                          -107-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 108 of 114




(Brought pursuant to 42 U.S.C. § 1983 by Plaintiffs M.A., S.S., Doe, Equality
           Florida, and Family Equality against all Defendants)

      300. Plaintiffs reallege and incorporate by reference the preceding

allegations as though fully set forth herein.

      301. A “law may be invalidated as overbroad if ‘a substantial number of its

applications are unconstitutional, judged in relation to the statute’s plainly legitimate

sweep.’” United States v. Stevens, 559 U.S. 460, 473 (2010) (quoting Wash. State

Grange v. Wash. State Republican Party, 552 U.S. 442, 449 n.6 (2008)).

      302. H.B. 1557 is overbroad in violation of the First Amendment rights of

Plaintiffs M.A., Moricz, S.S., Doe, Equality Florida, and Family Equality facially

and as applied by Defendants, because even to the extent that the law could be

interpreted as having any legitimate pedagogical purpose, “a substantial number of

its applications are unconstitutional.” Id. More specifically, even if H.B. 1557 has

some legitimate pedagogical purpose, it is not narrowly tailored to that purpose but

rather will be applied in a manner that broadly infringes Plaintiffs M.A., Moricz,

S.S., Doe, Equality Florida, and Family Equality’s First Amendment rights to

receive information and ideas, and their right to freedom of expression.

      303. This overbreadth has a chilling effect on the behavior and speech of

students, including Plaintiffs M.A., Moricz, S.S., Doe, and members of Equality

Florida, resulting in the self-censoring and intentional avoidance of a broad,

sweeping category of protected speech. For example, due to the overbreadth of H.B.


                                         -108-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 109 of 114




1557, students like Plaintiffs M.A., Moricz, S.S., Doe, and Equality Florida are

discouraged from identifying themselves as LGBTQ in school or from coming out

as LGBTQ; from sharing experiences or views about LGBTQ issues, sexual

orientation, or gender identity in school, as Plaintiffs M.A., Moricz, S.S., Doe, and

Equality Florida currently do; and from asking questions about LGBTQ issues,

sexual orientation, or gender identity in school, as Plaintiffs M.A., Moricz, S.S., Doe,

and Equality Florida currently do, all of which infringes on their First Amendment

rights.

          304. This overbreadth also has a chilling effect on the behavior and speech

of teachers, including Plaintiffs Berg, Washington, and Equality Florida, resulting

in the self-censoring and intentional avoidance of a broad, sweeping category of

protected speech. For example, teachers are discouraged from providing students

with accurate information about sexual orientation and gender identity for fear of

violating the law, which infringes on the First Amendment right to receive

information of Plaintiffs M.A., Moricz, S.S., Doe, and Equality Florida.

          305. H.B. 1557’s overbroad restrictions are not justified by preventing

disruption to the school environment, are unrelated to legitimate pedagogical

concerns, and serve no other legitimate state purposes. Instead, the law is rooted in

animus against LGBTQ individuals, as demonstrated by the public record, as well

as by partisan or political reasons.



                                         -109-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 110 of 114




          306. As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs M.A., Moricz, S.S., Doe, and Equality Florida have suffered and will

continue to suffer irreparable injury, including violations of their First Amendment

rights.

          307. As a direct and proximate result of Defendants’ unlawful conduct,

Plaintiffs M.A., Moricz, S.S., Doe, and Equality Florida have suffered damages to

be determined according to proof at trial.

                                     COUNT VI

   Title IX of the Education Amendments of 1972, 20 U.S.C. §§ 1681-1688:
                         Discrimination Based on Sex
 (Brought by Plaintiffs M.A., Moricz, S.S., Doe, Equality Florida, and Family
     Equality against Defendants State Board of Education and Florida
                          Department of Education)
                         Discrimination Based on Sex
          308. Plaintiffs reallege and incorporate by reference the preceding

allegations as though fully set forth herein.

          309. Defendants State Board of Education and Florida Department of

Education are recipients of federal financial assistance.

          310. The acts and omissions of Defendants have violated Plaintiffs’ M.A.,

S.S., Doe, Equality Florida, and Family Equality’s rights under Title IX by

discriminating against them on the basis of sex, which includes sexual orientation

and gender identity.




                                         -110-
    Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 111 of 114




          311. More specifically, H.B. 1557 results in the disparate treatment of

students in Florida’s public education system on the basis of sex, because they are

excluded from the participation in, denied the benefits of, and/or discriminated in

education. By implementing and enforcing H.B. 1557, Defendants State Board of

Education and Florida Department of Education are intentionally and/or with

deliberate indifference engaging in such discrimination.

          312. As a direct and proximate result of Defendants State Board of

Education and Florida Department of Education’s unlawful conduct, Plaintiffs M.A.,

Moricz, S.S., Doe, Equality Florida, and Family Equality have suffered and will

continue to suffer irreparable injury, including violations of their First Amendment

rights.

                               PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs respectfully request that the Court enter judgment

in their favor and against Defendants, and request an award of the following relief:

          313. A declaratory judgment that H.B. 1557 and the actions described herein

deprive Plaintiffs of their rights under the United States Constitution, including the

First and Fourteenth Amendments thereto, and applicable federal statutory law,

including 42 U.S.C. § 1983;




                                         -111-
        Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 112 of 114




           314. Permanent injunctive relief enjoining Defendants from implementing

and enforcing H.B. 1557 in violation of the rights guaranteed to Plaintiffs by the

United States Constitution and applicable federal statutory law; 80                          79F




           315. Nominal, compensatory, statutory, and punitive damages in an amount

to be determined at trial, as well as prejudgment interest, where appropriate,

including for the pain and suffering experienced by Plaintiff Moricz as a result of

the censorship of his high school graduation speech;

           316. An award of Plaintiffs’ costs of suit and reasonable attorneys’ fees,

expenses, and costs under 42 U.S.C. § 1988 and other applicable laws; and

           317. Such other relief as the Court deems necessary, just, and proper.




80
     Pursuant to the Court’s Scheduling Order dated May 13, 2022 (ECF 44), the Court has set a trial date of February
           13, 2023. Given the fact that trial is now scheduled to take place in relatively short order, Plaintiffs are no
           longer seeking a preliminary injunction at this time, since it will be more efficient and expeditious for the
           parties to proceed with discovery and trial. However, Plaintiffs reserve all rights to seek a preliminary
           injunction or any other appropriate remedy in the event that any of the Plaintiffs are treated in a way that
           requires such relief prior to trial or in the event that the February 13, 2023 trial date is postponed.




                                                          -112-
   Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 113 of 114




Dated: New York, New York             Respectfully submitted,
       May 25, 2022



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                                  -113-
Case 4:22-cv-00134-AW-MJF Document 47 Filed 05/25/22 Page 114 of 114




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                               -114-
